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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND



   UNITED STATES OF AMERICA,

       v.                                                Criminal No. ELH-11-0258

   RICHARD ANTHONY WILFORD



                                  MEMORANDUM OPINION

       In April 2011, law enforcement agents in Maryland seized cocaine that had an estimated

street value of more than $13 million dollars. That seizure, as well as other evidence obtained

during a joint State and federal investigation, led to a federal indictment of six members of a

drug-trafficking organization operating in the Baltimore area (the “Organization” or “Hayes

DTO”) (ECF 1).1 In particular, on May 5, 2011, defendant Richard Anthony Wilford, along with

co-defendants Lawrence Lee Hayes, Jr., Bryan Eammon Williams, George Lamar Plunkett,

Mark Anthony Hawkins, and Robert Nyakana, were charged in federal court with conspiracy to

possess with intent to distribute five kilograms or more of cocaine, in violation of 21 U.S.C.

§§ 841(a)(1) & 846.2

       According to the Government, Hayes was “the leader” of the Hayes DTO. Government’s

Opposition to Wilford’s Motion to Suppress (ECF 165), at 2. Wilford was allegedly “a source of

supply for the Hayes DTO, providing the organization with kilogram quantities of cocaine.” Id.

       1
           Six others were charged in Maryland State court.
       2
         A superseding indictment was returned on August 25, 2011, adding a forfeiture count,
pursuant to 18 U.S.C. § 853. See ECF 59. With the exception of Wilford, all of the federal
defendants have pled guilty.
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Williams was also “a source of supply for the Hayes DTO,” while Plunkett and Hawkins served

as “lieutenants.” Id. Nyakana was “a transporter of narcotics from California to the Baltimore,

Maryland area.” Id.

       Now pending is Wilford’s “Supplemental and Consolidated Motion to Suppress Tangible

and Derivative Evidence” (“Motion to Suppress”) (ECF 160), challenging evidence derived from

the surveillance conducted by law enforcement officers by means of Global Positioning System

(“GPS”) tracking devices and court-authorized “pinging” of cellular phones. See ECF 160.3

Relying on the Supreme Court’s recent decision in United States v. Jones, ___ U.S. ___, 132 S.

Ct. 945 (2012), Wilford maintains that the warrantless use of GPS tracking technology violated

his Fourth Amendment rights. Additionally, Wilford asserts that, despite court authorization

obtained under Maryland’s pen register and trap and trace statute, Md. Code (2006 Repl. Vol.,

2012 Supp.), Cts. & Jud. Proc. (“C.J.”) §§ 10-4B-01, et seq., the pinging of his cellular phone

was not authorized by the statute, and was conducted in violation of Maryland law and the

Fourth Amendment. Thus, according to Wilford, evidence derived from the use of GPS and

pinging must be suppressed under the Fourth Amendment’s exclusionary rule.




       3
         The Motion to Suppress (ECF 160) was filed on November 11, 2012. According to
Wilford, it “clearly define[s] the limited issues before the Court.” Motion to Suppress at 1 n.1.
However, on March 9, 2012, Wilford filed the first iteration of his suppression motion (ECF 92).
On April 3, 2012, he filed an “Addendum to Motion to Suppress Tangible and Derivative
Evidence and Request for Franks Hearing” (ECF 97).
        Also on March 9, 2012, Wilford filed a “Motion for Disclosure of Promises of Immunity”
(ECF 93); a “Motion for Release of Brady Materials” (ECF 94); and a “Motion for Disclosure
Pursuant to Fed. R. Evid. 404(b) and 609” (ECF 95). Thereafter, Wilford filed a “Motion to
Designate Trial Transcripts” (ECF 96). On the second day of the hearing, held on March 8,
2013, Wilford conceded that ECF 93, 94, 95, and 96 are either moot or not ripe. Therefore, they
are not addressed in this Memorandum Opinion.
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       Wilford also requested a hearing, pursuant to Franks v. Delaware, 438 U.S. 154 (1978),

to challenge the veracity of an application dated November 18, 2010, submitted to a Maryland

State judge for an order authorizing pinging of Wilford’s cell phone4; an application for a search

and seizure warrant, dated May 10, 2011, submitted to a Maryland State judge, and used to

recover physical evidence from multiple locations associated with Wilford and the Hayes DTO5;

and an application for a wiretap order, dated April 1, 2011, as to Wilford’s cell phone, which was

not provided.    According to Wilford, these applications contained deliberately false and

misleading statements, and thus evidence derived from them should be suppressed.

       In addition, Wilford filed a “Motion for Disclosure of Relevant Evidence and Request for

Immediate Hearing” (“Disclosure Motion”) (ECF 165). In the Disclosure Motion, Wilford

seeks, inter alia, internal memoranda circulated by “various law enforcement agencies”

pertaining to GPS tracking, in light of the decision in August 2010 in United States v. Maynard,

615 F.3d 544 (D.C. Cir. 2010). According to Wilford, this information is pertinent to his Motion

to Suppress.6

       The Government opposes Wilford’s Motion to Suppress (“Opposition” or “Opp.,” ECF



       4
         The application for pinging and the order, included in Exhibit 6 to the Motion to
Suppress, are a single document, submitted and approved on the same date (hereafter,
“November 18 Pinging Application”).
       5
         Exhibit 1 to Wilford’s Motion includes both the application for a search and seizure
warrant (“Warrant Application” or “Warrant App.”), submitted to Maryland State District Court
Judge Kathleen Sweeney on or about May 10, 2011, and the search and seizure warrant (“Search
Warrant”), which Judge Sweeney signed on the same day. See Motion to Suppress, Exh. 1.
       6
          Wilford also requested production of GPS data and information regarding the
investigative techniques used to obtain cell phone numbers used by Hayes DTO members. The
Government disclosed the investigative techniques used to obtain phone numbers, and Wilford
withdrew the request for production of GPS data, as that data had been produced. See ECF 171.
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165).7 With respect to GPS tracking, the Government relies, inter alia, on the good faith

exception to the exclusionary rule, claiming that its use of the GPS devices took place prior to

the Supreme Court’s decision in Jones and, at the relevant time, it was in compliance with what

was then settled law. Further, the Government disputes Wilford’s argument that cell phone

pinging violates Maryland law and the Fourth Amendment, and maintains that, in any event, the

pinging orders comported with the Fourth Amendment’s warrant requirement. The Government

vehemently opposed Wilford’s request for a Franks hearing, insisting that any allegedly false or

misleading statements were the result of negligence, rather than recklessness or a deliberate

intent to mislead. As to the Disclosure Motion, the Government responds that Wilford is not

entitled to the production of internal law enforcement memoranda under Fed. R. Crim. P. 16. It

also argues that such material is not relevant to the issues raised by the Motion to Suppress. See

Government’s Response to Defendant’s Motion for Disclosure of Relevant Evidence

(“Disclosure Opp.,” ECF 173).

       I held a motions hearing on January 25, 2013, and March 8, 2013, at which the parties

presented evidence and argument. The parties also filed supplemental briefs as to the scope of

Maryland’s pen register and trap and trace statute, C.J. §§ 10-4B-01, et seq., and the issues raised

under Franks v. Delaware. See Memorandum to Counsel, Jan. 28, 2013 (ECF 175); Defendant’s

Response to Issues Raised by the Court (“Wilford Supp. Memo,” ECF 180); Government’s

Supplemental Briefing (“Gov’t Supp. Memo,” ECF 181). For the reasons that follow, I will

grant, in part, and deny, in part, Wilford’s Disclosure Motion. And, I will deny Wilford’s


       7
          As exhibits to its Opposition, the Government included the challenged Warrant
Application and the Search Warrant (Opp. Exh. 1), as well as three applications for pinging
orders, including the November 18 Pinging Application (Opp. Exhs. 2-4).
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Motion to Suppress, without prejudice to his right to renew his argument as to the inapplicability

of the good faith defense, pending possible Government disclosures, as discussed infra.

       I. Factual Background8

       In August 2010, the Drug Enforcement Administration (“DEA”), the Baltimore City

Police Department (“BPD”), the Baltimore County Police Department, the Maryland

Transportation Authority Police, and the Internal Revenue Service (“IRS”) began a joint

investigation of the Hayes DTO, based on information obtained from two confidential sources

(“CS1” and “CS2”). Opp. at 4-5. Law enforcement agents learned that Hayes and the Hayes

DTO were involved in the distribution of cocaine in the Baltimore metropolitan area. See id.

The investigation was run as a “DEA Task Force” matter.

       DEA Agent Mark Lester served as the lead investigator of the DEA Task Force. DEA

Agent Todd Edwards and BPD Officer Glenn Hester were his co-case agents. DEA Agent Mara

Hewitt was also involved. An Assistant State’s Attorney for Baltimore City, La Rai Everett, was

the lead State prosecutor with respect to the investigation.       During the investigation, all

applications for warrants, pinging orders, and wiretaps were submitted to Maryland State court

judges. Id. at 4. In 2011, a decision was made to prosecute certain members of the Hayes DTO

in federal court. See id.
       8
         The factual background is based largely on the facts set forth by the Government in its
Opposition (ECF 165), to which the parties have stipulated. I have added, where pertinent,
additional facts based on the testimony of Drug Enforcement Administration Agents Mark Lester
and Mara Hewitt, who testified on January 25, 2013. Quotes attributed to the DEA agents are
not necessarily the precise words of the witness, as I do not have a transcript of the testimony.
       I also refer to the Warrant Application, which consumes almost 157 pages, exclusive of
lengthy attachments. Both the Government’s Opposition and the Warrant Application often refer
generically to “officers” or “law enforcement agents.” Where possible, I have identified by
name the individual law enforcement officers involved in the investigation. In other instances, I
have used generic terminology, such as “law enforcement officers” or “agents.”
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   A. Location Technology

       1. GPS Tracking Devices

       During the investigation, four “slap on” GPS tracking devices, which did not require

permanent installation, were placed on twelve different vehicles, as set forth below, Opp. at 2-39:

                A Nissan registered to and utilized by Hayes;

                A Range Rover registered to Deneen Bolden and utilized by Hayes;

                A Honda Crosstour registered to and utilized by Wilford;

                A Jeep registered to BLOW IT OFF POWER WASHING and utilized by
                 Hawkins;

                An Acura 2 registered to Donna Lee Oneal and utilized by Hayes and Antoine
                 Lamont Goodson;

                A Honda Crosstour registered to and utilized by Hayes;

                A Jeep Liberty registered to Arki Lamar Reid-Labrousse and utilized by Plunkett;

                A Volvo sport utility vehicle registered to Arki Lamar Reid-Labrousse and
                 utilized by Plunkett;

                An Acura 4S registered to and utilized by Hayes;

                A Honda registered to and utilized by Plunkett;

                An Oldsmobile minivan registered to BLOW IT OFF POWER WASHING and
                 utilized by Hawkins and Wilford;

                A Honda Crosstour registered to Robin Michelle Douglas and utilized by Hayes.

       Agent Lester testified at the hearing on January 25, 2013, as to the GPS devices used

during the investigation. The GPS devices, which were battery powered, communicated location

information through a wireless connection. The agent explained generally that the GPS device is

       9
           I address, infra, Wilford’s standing to contest the use of GPS devices.
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triggered by the movement of the vehicle. A DEA agent could obtain the real-time location of

the GPS while a vehicle is moving, and location data could also be accessed at a later time

through a DEA computer application. An icon representing the vehicle could be displayed

through a computer mapping program, along with the approximate street address of its location.

However, the GPS devices could not identify the driver of the car. Thus, GPS devices served as

aids to obtain visual surveillance, but did not substitute for such surveillance.

       According to Agent Lester, a GPS device was placed on Wilford’s Honda Crosstour

between November 17, 2010, and December 8, 2010, and between December 12, 2010 and April

16, 2011. Between January 18, 2011 and May 19, 2011, a GPS device was also placed on the

Oldsmobile minivan registered to BLOW IT OFF POWER WASHING.                         The Government

claims, and Agent Lester confirmed: “All of the GPS devices were placed on vehicles while they

were parked on public streets, driveways accessible from the street, or public parking lots.” Opp.

at 4. However, as discussed more fully, infra, no search warrants were obtained for the use of

GPS tracking devices.

       GPS data was not transmitted every day. According to the testimony of a defense

witness, Joshua Brown, of GLS Litigation Services,10 the GPS data indicated that the location of

Wilford’s Crosstour was transmitted 4,022 times, on 78 days, and the location of the minivan

was transmitted 7,326 times, on 68 days.

       2. Cell Phone Pinging

       During the investigation, DEA agents submitted numerous applications to the Circuit

Court for Baltimore City, each under oath, for an order to authorize the pinging of Wilford’s

       10
          The defense initially proffered Brown as an expert, based on his professional
experience in organizing GPS and pinging data. He was permitted to testify as a fact witness.
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cellular phone, pursuant to C.J. § 10-4B-03. Each order was valid for sixty days. Three

applications are relevant here.

       The first application is the subject of defendant’s Franks challenge, discussed infra. It

was submitted by DEA Agent Mara Hewitt on November 18, 2010. See Nov. 18 Pinging App. at

1. Judge Pamela White of the Circuit Court for Baltimore City found “that probable cause exists

based upon the information supplied in this application, that the said individual is using the

above captioned cell phone for criminal activity and that the application will lead to evidence of

the crime(s) under investigation.” Id. at 11. Therefore, she approved the application, on the

same date. Id. Agent Lester filed the Second Application, which was approved by Baltimore

City Circuit Court Judge Barry Williams on January 19, 2011, upon his finding of probable

cause. See Opp. Exh. 3. Agent Lester also filed the third application, which was approved by

Baltimore City Circuit Court Judge Timothy Doory on April 29, 2010, upon his finding of

probable cause. See Opp. Exh. 4.

       No testimony was offered at the motions hearing as to the precise technology used to

obtain cellular phone location information. But, the manner in which cell phones transmit their

location has been the subject of discussion in the literature and is generally known:

       Cellular telephones send their communications by radio waves to cell sites—
       transmitting stations in stand-alone towers or on other buildings—that are
       strategically placed throughout the provider’s service area. As a cell phone (and
       its user) moves from place to place, the cell phone’s signal shifts from tower to
       tower to achieve the best signal. In order to determine which tower to use, the
       cell phone regularly communicates with nearby towers to test the available
       signals. When a user places or receives a call on his cell phone, the phone’s radio
       transmitter must communicate with nearby cell towers so that the appropriate one
       (or ones) may handle the call.




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Susan Freiwald, Cell Phone Location Data and the Fourth Amendment: A Question of Law, Not

Fact, 70 Md. L. Rev. 681, 702-703 (2011) (footnotes omitted). Thus, a cell phone will transmit

its location information to nearby cell towers “[w]hen the government calls the target’s cell

phone.” Id. at 703. Moreover, because a cell phone regularly communicates with cell towers to

test signal capacity, data may be received from a service provider, even without calling. The

applications appear to be worded broadly enough to encompass either practice.

       According to the evidence, when a cellular phone was turned on, a ping occurred every

fifteen minutes, with the service provider for the cellular phone sending an e-mail to law

enforcement with latitudinal and longitudinal coordinates. These coordinates could locate a

phone within a radius of 3 to 5,000 meters. As with GPS data, Agent Lester testified that

pinging was an aid for, but not a replacement for, visual surveillance.

       At the hearing on January 25, 2013, defense witness Joshua Brown displayed a digital

map of Baltimore, overlaid with color-coded circles representing each GPS and pinging data

point based on data disclosed by the Government in discovery. According to Brown, each data

point included locational coordinates, along with the date and time. The radius of each circle

purported to represent the relative precision with which law enforcement agents could locate

Wilford’s phone or vehicle. In other words, a large circle indicated a rough estimate, while a

small circle indicated a very precise estimate. The majority of data points appeared to reveal

Wilford’s location in a public space. On several occasions, however, the data appeared to

indicate Wilford’s presence in or around a private location.

   B. Investigation of the Hayes DTO as it pertained to Wilford




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       On October 8, 2010, through a “slap on” GPS tracking device on Hayes’s Nissan, Hayes

was located in the vicinity of the 3600 and 3700 blocks of Wabash Avenue in Baltimore. Opp. at

5. Following instructions from law enforcement agents, CS2 observed Hayes at a barber-shop at

3739 Wabash Avenue, and witnessed Hayes and Plunkett exchange a plastic bag believed to

contain money. Id. On the same day, based on the GPS device placed on Hayes’s Nissan, DEA

Agents Lester and Edwards followed Hayes to 30th and St. Paul streets in Baltimore City, where

they observed Hayes interact with an unknown individual, later identified as Wilford, who was

driving a Ford F-150 pickup truck. See id. Agents saw Wilford give a large cardboard box to

Hayes and, shortly afterwards, saw Hayes take it to the Belvedere Towers Apartments at 1190

Northern Parkway in Baltimore (the “Belvedere”), a suspected stash house, where they had seen

Hayes several times before. Id. The agents also determined that the F-150 was registered to

Wilford.

       On October 18, 2010, CS2 informed law enforcement agents that Wilford was dealing

narcotics with Hayes, and that Wilford was driving a Mercedes Benz that cost approximately

$150,000. Opp. at 6. A search of Wilford’s criminal record revealed two prior federal felony

drug convictions. Id.

       On October 22, 2010, Agents Lester and Edwards again located Hayes through the GPS

device on his vehicle. Id. at 6. They observed him in an encounter with Wilford at 30th and St.

Paul streets. See id. They watched Wilford and Hayes walk around the block for approximately

an hour before leaving in Hayes’s vehicle. Id. While Hayes and Wilford were gone, Agent

Lester took photographs of the interior and exterior of the F-150. When the two men returned,

Wilford was seen exiting Hayes’s vehicle with a backpack that appeared full, while Hayes


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removed a large cardboard box from Wilford’s truck, similar in size to the box exchanged on

October 8, 2010.     Id.   Anticipating Hayes’s next move, Agent Edwards proceeded to the

Belvedere, where he observed Hayes bring the box into the building. See id.

       Based on a review of land records, law enforcement agents determined that in 2007

Wilford purchased a large house in Cecil County, Maryland for about $540,000, and refinanced

it in March 2007 for $637,000. Id. at 5-6. Yet, Wilford’s Maryland tax returns revealed that in

2006 he only earned approximately $21,855. Id. at 6. Agents also learned that Wilford owned a

dump truck company named “R.A.W. ENTERPRISES,” located at 2512 Erick Street in

Baltimore. Id. Because “B’MORES DUMPING,” a dump truck company allegedly owned by

Michael Smooth, also operated out of 2512 Erick Street, agents suspected that Wilford was

involved with Smooth in operating B’MORES DUMPING. See id.

       On November 4, 2010, utilizing a GPS device planted on a vehicle owned by Antoine

Goodson (a suspected member of the Hayes DTO), law enforcement agents located and observed

Plunkett at a residence at 301 W. 27th Street in Baltimore. Id. at 6. That is the address listed on

Hayes’s Maryland driver’s license. Id. at 7. During surveillance, agents observed Plunkett

purchase several rolls of paper towels at a nearby 7-11 and take them to the residence. Id.

According to Agent Lester and Officer Hester, the affiants on the Warrant Application, paper

towels are often used by persons converting powder cocaine into crack cocaine. Id.; Warrant

App. at 25. Agent Lester and Officer Hester believed that the residence was used to convert

powder cocaine into crack cocaine. Opp. at 7; Warrant App. at 25.

       On November 17, 2010, Agents Lester and Edwards removed a GPS device they had

placed on Hayes’s Land Rover and placed it on a Honda Crosstour registered to Wilford, which


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they had seen Wilford driving. Opp. at 7. At the time, the Crosstour was parked outside Hayes’s

residence at 1020 Park Avenue in Baltimore. Id. That GPS device was removed from the

Crosstour on December 8, 2010, while it was at a Honda dealership for repairs. Id.

       Agents Lester and Edwards placed another GPS device on the Honda Crosstour on

December 12, 2010, while the vehicle was parked at Baltimore Washington International –

Thurgood Marshall Airport (“BWI”). Id. at 7. Pinging data had revealed that Wilford’s cell

phone was in California in early December 2010, and Agents Edwards and Lester speculated that

Wilford may have parked a vehicle at BWI. See id. at 7-8. Agent Lester recalled that, after a

“painstaking[]” three-hour visual scan of the airport parking lots, they found Wilford’s vehicle.

       On December 17, 2010, based on GPS devices located on the respective vehicles of

Hayes and Wilford, along with the “pinging” of their cellular phones, law enforcement agents

located and observed Hayes and Wilford, again at 30th and St. Paul streets. Opp. at 8. Wilford

gave Hayes a large cardboard box, similar in size to the other boxes that had been exchanged.

Id. The two men entered Wilford’s vehicle and drove away. Id. Ten minutes later, law

enforcement agents observed Wilford’s vehicle at the Belvedere; they saw Hayes enter the

building carrying a large cardboard box, and leave six minutes later, empty handed. Id. After

Hayes entered Wilford’s vehicle, Wilford drove away. Id. According to lease paperwork,

Apartment 717 at the Belvedere was leased by an employee of B’MORES DUMPING. See

Warrant App. at 26.

       On January 19, 2011, law enforcement agents placed a GPS tracker on the Oldsmobile

minivan utilized by Hawkins and Wilford and registered to BLOW IT OFF POWER




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WASHING. See Opp. at 8. The tracker was placed on the vehicle while it was parked on

Woodbourne Avenue in Baltimore. Id.

       Through GPS and pinging, Wilford was located on January 28, 2011, at a Staples store on

York Road in Baltimore, and then at another Staples store on Goucher Boulevard in Towson,

Maryland. See id.11 Surveillance videos from those stores, obtained by law enforcement agents,

show Wilford taking a large cardboard box into each store on January 28, 2011. Id. Agents also

obtained the shipping records for the Staples on Goucher Boulevard, which indicated that

Wilford had paid cash to send a 15 pound box to an address in Long Beach, California. Id. at 8-

9. The sender was listed as Janice Tate, although it was determined that she did not live at the

listed address. Id. The recipient was listed as Ronald Tate, and it was determined that he did not

live at the specified address. Id. at 9. Rather, Alejandro Miller was the resident at the recipient’s

address. Id.

       Miller had a connection to Pierre Bantan, a relative of Wilford’s girlfriend. See id.

Bantan had previously been connected with a package sent by a fictitious person in Baltimore to

a fictitious person in California. Id. Law enforcement agents obtained a search warrant for the

Tate box and discovered approximately $79,650 hidden in a Magnavox VCR/DVD player. Id.

       On January 31, 2011, law enforcement agents again located Wilford’s Honda Crosstour

at BWI airport by pinging his cellular phone, pursuant to an order issued by Baltimore City

Circuit Court Judge Barry Williams on January 19, 2011. Id. Because pinging data indicated

that Wilford was in California, agents again deduced that Wilford had parked his vehicle at a

BWI parking lot. Id. When they located Wilford’s vehicle, agents saw that it contained a bag of

       11
          No evidence was offered as to how Wilford was located. But, no objection was made
as to defense counsel’s assertion.
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“motherboards,” which are the internal parts of a computer. Id. According to officers involved

in the investigation, motherboards are often removed from a computer so that the “shell” can be

used to transport drugs or money. Id.; see Warrant App. at 38.

       On February 10, 2011, agents tracked Hayes and Plunkett, through GPS devices on their

respective vehicles, to the Belvedere. Opp. at 10. With the aid of a hallway “surveillance

camera” in the apartment building,12 agents saw Hayes carry a large cardboard box into the

apartment with him, and then saw Plunkett take two large boxes from the apartment to the

dumpster. Id. In the dumpster outside the Belvedere, agents discovered four computer boxes;

two computer shells (one of which had black paper taped over the holes, to hide the interior); a

small plastic bag containing white powder residue (later determined to be cocaine); latex gloves;

two empty boxes of sandwich bags; and a razor blade. Id. at 10-11.

       Law enforcement obtained a surveillance video of Wilford on March 10, 2011,

purchasing a Magnavox VHS/DVD player at a Walmart. Id. at 12; see Opp. Exh. 4 at 9.13 On

March 17, 2011, law enforcement tracked Wilford and Hawkins to the Staples store located on

Goucher Boulevard in Towson by using GPS devices planted on Wilford’s Crosstour and

Hawkins’s minivan, and by pinging Wilford’s cellular phone. Opp. at 11. Wilford and Hawkins

were seen packing three boxes in the Staples parking lot, similar in size and shape to the boxes

seen in the surveillance videos of January 28, 2011. Id. Wilford took one of the boxes into the

Staples store for shipping; he took another box to a different Staples in Towson, and the third

       12
          According to the Government, the camera was placed in the Belvedere apartment
building “on February 7, 2011, with the permission of the building’s owner.” Opp. at 10.
       13
         No evidence was offered at the hearing as to how Wilford was located on this occasion.
However, defense counsel asserted, without objection, that law enforcement agents located
Wilford using GPS and pinging.
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box to an Office Depot. See id. As before, the package deposited at the Staples on Goucher

Boulevard listed Janice Tate as sender and Ronald Tate as recipient. Id. A canine scan yielded a

positive alert for a controlled dangerous substance. Id. at 12. Pursuant to a warrant, agents

located $100,000 in U.S. currency in the box, concealed in a Magnavox VCR/DVD player. Id.14

       Law enforcement agents observed Wilford and Hawkins on March 30, 2011, “at a

parking lot on Greenmount Avenue and Exeter Hall in Baltimore City.” Id. Wilford was seen

operating the Oldsmobile minivan registered to BLOW IT OFF POWER WASHING, which

agents located through GPS. Id.15 Wilford gave a box to Hawkins, who was operating a box

truck. Id. Hawkins took the box, which was similar in size to the boxes previously observed,

into a residence at 1500 Cliftview Avenue in Baltimore. Id.

       On April 1, 2011, agents conducted surveillance of the barber-shop at 3739 Wabash

Avenue in Baltimore. Id. However, neither GPS nor pinging was used to locate members of the

DTO; rather, surveillance was based on the known routine of Hayes DTO members. Id. During

the surveillance, agents observed Plunkett, Wilford, Hayes and another Hayes DTO member

enter the barber-shop. Opp. at 12-13. Hayes and Plunkett left approximately ten minutes later.

Id. at 13. About twenty minutes later, Wilford left in Hawkins’s minivan. Id. Based “on a

hunch” that Wilford would proceed to 1500 Cliftview Avenue, agents went to that address. Id.

GPS tracking on Wilford’s vehicle was used to alert law enforcement, who had already

established visual surveillance of the address, that Wilford was about to arrive. Id. at 13 & n.6.
       14
          In the Opposition, the Government states that Wilford purchased a Magnavox
VHS/DVD player on March 10, 2011, see Opp. at 12, but that the currency recovered on March
17, 2011, was concealed in a Magnavox VCR/DVD player. See id.; Warrant App. at 50. It is
unclear whether this discrepancy is based on a typographical error. In any event, it is not
material.
       15
            According to the defense, law enforcement agents also relied on cell phone pinging.
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Agents observed Wilford retrieve a blue shoulder bag and a red backpack from the minivan and

enter the residence, using a key. Id. at 13. When Wilford returned to the van and opened the

rear door, agents saw a red and white VCR box, identical to the VCR box seized previously from

one of the packages that Wilford had sent to California. Id.

       A few hours later, Wilford was observed interacting with the driver of a white Range

Rover that had pulled in front of the residence. Id. Agents saw the driver hand Wilford a small

object, which Wilford placed in his right front pants pocket. Id. After the Range Rover drove

away, Wilford, Hawkins, and two other men exited 1500 Cliftview carrying backpacks and bags

that they put in a silver Hyundai16 before driving away. Id. Wilford, driving the Oldsmobile

minivan, followed the Hyundai. Id.

       Also on April 1, 2011, agents intercepted a phone call between Hayes and Bryan

Williams, pursuant to a court order signed by a Maryland State judge authorizing the interception

of communications as to Hayes’s cell phone. Id. at 14; see Warrant App. at 53, 57-58. During

the call, Williams told Hayes that, at the beginning of the following week, he was going to send

him a “get well card,” which was understood as a code for narcotics. Opp. at 14.

       On April 3, 2011, Illinois State Troopers in Clark County stopped a Penske Tractor

Trailer Truck for speeding on I-70. Opp. At 14. Nyakana, the driver, consented to a search of

the vehicle, and the troopers discovered approximately 136 kilograms of cocaine. Id. The drugs

were to be delivered to Bryan Williams in Jessup, Maryland; Nyakana was to be paid $200,000

for the transportation. Id. According to the Government, the wholesale value of the cocaine

discovered in the trailer was estimated at $4,060,000, with an estimated street value of

       16
         The silver Hyundai had been rented from Enterprise Rentals at Dulles Airport by
Anthony Uzondu of Los Angeles. See Warrant App. at 56.
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$13,600,000. Id. On April 4, 2011, Williams was arrested during the attempted delivery of the

cocaine, and $269,000 was discovered in the trunk of his car. Id.

       Agents Lester and Edwards removed the GPS tracker from Wilford’s Honda Crosstour on

April 16, 2011. See id. At the time, the vehicle was parked at an apartment complex in Elkton,

Maryland. Id.

       On April 18, 2011, agents observed Plunkett taking a large garbage bag from 301 W.

27th Street to his car, and then to the Belvedere. Id. There, agents saw Plunkett enter Apartment

717 and exit soon after. Id. at 15. Plunkett then went to the dumpster and dumped the garbage

bag. Id. Agents subsequently retrieved the garbage from the dumpster and discovered several

vacuum-sealed plastic bags that had been opened. Id. They contained cocaine residue, a broken

Pyrex container, used paper towels, and two empty boxes of baking soda. Id.

       The next day, April 19, 2011, Wilford was located at 3530 Seapines Circle in

Randallstown, Maryland, through the GPS device on Hawkins’s minivan, and by pinging

Wilford’s cellular phone. See id. at 15. Wilford took a large duffel bag, which appeared to be

heavy and full, to the van, and then drove to a bank at 7 Slade Avenue in Baltimore. Opp. at 15.

Agents observed Wilford exiting the bank with the duffel bag, which appeared to be empty. Id.

       On April 22, 2011, law enforcement established surveillance in the vicinity of 1500

Cliftview Avenue. Id. Agents located the Oldsmobile minivan outside of the residence through

the GPS placed on the vehicle. Id. According to defense counsel, pinging was also used. When

a burgundy Jeep arrived, Wilford exited the minivan and left in the Jeep. Id. The jeep returned

about ten minutes later. Id. at 16. In the interim, a UPS driver had arrived with a large box,

similar in size and appearance to the boxes previously observed in possession of the defendants.


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Id. at 15-16. Hawkins, the driver of the Jeep, took the box and brought it into 1500 Cliftview.

Id. at 16. Wilford followed several minutes later. Id. Hawkins subsequently retrieved several

empty bags from the Jeep and brought them into the residence. Id. He then brought a large,

weighted-down duffel bag out to the Jeep, and he and Wilford drove away in the Jeep. Id.

       Most of the defendants were arrested on May 16, 2011, although Wilford was not

apprehended until September 2011. Id. When Hayes and Plunkett were apprehended, they were

in possession of 1.5 kilograms of crack cocaine. Id.

       On or about May 16, 2011, law enforcement agents executed the May 10, 2011 Search

Warrant issued by Judge Sweeney. See id. Law enforcement agents recovered, inter alia, the

following from Plunkett’s residence: $200,000 in U.S. currency; wrappers for kilograms of

cocaine; money counters; and pay/owe sheets. Id. At Hayes’s residence they found $300,000 in

U.S. currency. Id. At 3530 Seapines Circle, one of the residences associated with Wilford, the

agents recovered $1,600,000 in U.S. currency from a large duffel bag that resembled the one

previously carried by Wilford. Id. at 16-17. In addition, a hollow computer tower, identical in

appearance to the computer towers recovered during the investigation, as well as a rectangular

steel mold used to mold kilograms of narcotics, was recovered from 1500 Cliftview Avenue. See

id. at 17; see also Search Warrant (listing premises to be searched).17

       In late May 2011, law enforcement learned that a package was to be delivered by UPS to

1500 Cliftview Avenue. Opp. at 17. Agents obtained a search and seizure warrant for the

package. Id. They searched the package on May 20, 2011, and it contained a large cardboard

       17
          In its Opposition, the Government states that these searches were conducted pursuant
to “a warrant.” Because the Search Warrant was issued on May 10, 2011, and identifies these
locations as premises to be searched, I assume that law enforcement agents conducted these
searches pursuant to the Search Warrant.
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box, the same size as those previously observed. Id. Ten kilograms of cocaine were packed

inside a hollow computer shell. Id.

          In July and August 2011, law enforcement learned that Wilford was residing in Los

Angeles. Id. Law enforcement conducted a search of his California residence, pursuant to a

warrant, and discovered $68,000 in U.S. Currency and several items of jewelry. Id. Eventually,

law enforcement arrested Wilford in Baltimore on September 16, 2011. Id. at 18. Pursuant to a

search warrant for Wilford’s “secret Baltimore residence,” $190,000 was recovered. Id.18

                                           *       *      *

          In his papers and at the hearings, Wilford identified the following instances of

surveillance as the subject of his suppression motion:

          1) December 17, 2010: Observation of Hayes and Wilford, based on GPS tracking of
             their respective vehicles and pinging of their respective cell phones.
          2) January 28, 2011: Video surveillance of Wilford bringing cardboard boxes to two
             Staples stores. According to defense counsel, surveillance was based on GPS
             tracking and cell phone pinging.
          3) January 31, 2011: Surveillance of Wilford’s 2010 Honda Crosstour while it was
             parked at the BWI Daily Parking lot, located, in part, through cell phone pinging.
          4) March 10, 2011: Video surveillance of Wilford purchasing a Magnavox VHS/DVD
             player at a Walmart, located through a GPS device on Wilford’s vehicle and cell
             phone pinging.
          5) March 17, 2011: Surveillance of Wilford and Hawkins at a Staples store, based on
             GPS tracking of their respective vehicles and pinging of Wilford’s cell phone.
          6) March 30, 2011: Surveillance of Wilford and Hawkins at a parking lot on
             Greenmount Avenue and Exeter Hall in Baltimore City. Wilford was located through
             the GPS device on the Oldsmobile minivan.
          7) April 1, 2011: Surveillance of Wilford and other Hayes DTO members in the area of
             1500 Cliftview Avenue. GPS tracking on Wilford’s car was used only to alert law


          18
               The location of Wilford’s “secret Baltimore residence” was not identified by either
party.
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           enforcement, who were already conducting visual surveillance, that Wilford was
           about to arrive.
       8) April 19, 2011: Surveillance of Wilford at 3530 Seapines Circle in Randallstown, and
          Bank of America at 7 Slade Avenue in Baltimore, based on GPS tracking of
          Wilford’s vehicle and pinging of his cell phone.
       9) April 22, 2011: Surveillance of Wilford and Hawkins at 1500 Cliftview Avenue,
          based on a GPS device on the Oldsmobile minivan driven by Wilford and cell phone
          pinging.

       As the above summary reflects, for every occasion in which Wilford was tracked, law

enforcement agents used two modalities: GPS and cell phone pinging. Initially, Wilford also

sought to suppress surveillance of meetings between Hayes and Wilford on October 8, 2010, and

October 22, 2010. However, as discussed, infra, he appears to have conceded that he lacks

standing to contest surveillance of these meetings, which was based solely on GPS tracking of

Hayes’s vehicle.

       Wilford also seeks suppression of the following physical evidence recovered during the

investigation, as fruit of the poisonous tree, see ECF 160 at 32-33:

       1) March 17, 2011: $100,000 in U.S. currency recovered, pursuant to a warrant, from a
          box brought by Wilford to the Staples on Goucher Boulevard in Towson, Maryland.
       2) May 16, 2011: Evidence recovered, pursuant to the Search Warrant, from Wilford’s
          home at 11 Rock Hollow Court in Elkton, Maryland.
       3) May 16, 2011: Evidence recovered, pursuant to the Search Warrant, from 1500
          Cliftview Avenue in Baltimore.
       4) May 16, 2011: Evidence, including $1,600,000 in U.S. currency, recovered, pursuant
          to the Search Warrant, from 3530 Seapines Circle in Randallstown, Maryland.
       5) May 16, 2011: Evidence recovered, pursuant to the Search Warrant, from 2512 Erick
          Street in Baltimore.
       6) May 20, 2011: Ten kilograms of cocaine recovered, pursuant to a warrant, from a
          UPS box delivered to 1500 Cliftview Avenue in Baltimore.




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       I.     Discussion

       A. Disclosure Motion

       Before discussing the merits of Wilford’s Motion to Suppress, I will briefly address his

Disclosure Motion.19    Wilford seeks the production of “any notice to the United [S]tates

Attorney’s [O]ffice for the District of Maryland, DEA Baltimore Field Office, the States

Attorney’s Office for Baltimore City, and any other applicable agency/office, involving the DC

Circuit decision in” United States v. Maynard, 615 F.3d 544 (D.C. Cir. 2010), decided in August

2010. Disclosure Motion ¶ 1. Wilford’s request “includes any memo for DOJ, inter office

memos, email and/or continued legal education newsletter or classes which discuss the DC

Circuit’s decision . . . .” Id. The Government counters that, under Fed. R. Crim. P. 16,

disclosure is not required because Wilford’s request concerns protected Government work

product, and the requested information is not relevant to the issues presented in the Motion to

Suppress. See Disclosure Opp. at 4.

       Fed. R. Crim. P. 16(a)(1)(E) governs a defendant’s statutory right to disclosure of

“documents and objects” in a criminal case.20 The rule states, in pertinent part: “Upon a

defendant’s request, the government must permit the defendant to inspect and to copy or

photograph books, papers, documents, [or] data . . . within the government’s possession, custody

or control,” if “the item is material to preparing the defense.” Id. However, Fed. R. Crim. P.

       19
         As noted, the Government has satisfied Wilford’s discovery requests concerning the
production of GPS and pinging data and the use of investigative techniques to obtain cell phone
numbers.
       20
           Wilford does not assert that disclosure of this material is required by due process
considerations, which, in any event, provide a narrower right to discovery than does Rule 16.
See United States v. Caro, 597 F.3d 608, 620 (4th Cir. 2010).
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16(a)(2) is also pertinent. It states: “Except as Rule 16(a)(1) provides otherwise, this rule does

not authorize the discovery or inspection of reports, memoranda, or other internal government

documents made by an attorney for the government or other government agent in connection

with investigating or prosecuting the case.” Under Fed R. Crim. P. 16(a)(2), “a defendant may

not examine Government work product in connection with his case.”               United States v.

Armstrong, 517 U.S. 456, 463 (1996); see United States v. Nobles, 422 U.S. 225, 239 & n.13

(1975) (describing Rule 16(a)(2) as analogous to the attorney work product exception in civil

cases). Compare United States v. Maranzino, 860 F.2d 981, 985-86 (10th Cir. 1988) (finding

prosecution’s file and presentence report from prior case brought against defendant exempt from

disclosure under Rule 16(a)(2)), with Gov’t of V.I. v. Fahie, 419 F.3d 249, 257 (3d Cir. 2005)

(finding that Rule 16(a)(2) did not exempt from disclosure “a computer-generated printout from

a government database maintained for broader purposes than the prosecution”).

       The information sought by Wilford appears to qualify as protected information under

Fed. R. Crim. P. 16(a)(2), as it concerns the legal theories of Government agents and lawyers

regarding the legality of GPS tracking. However, Rule 16(a)(2) allows disclosure to the extent

that Rule 16(a)(1) “otherwise provides.” Therefore, if the requested information is “material to

preparing [Wilford’s] defense,” disclosure may be required under Fed. R. Crim. P. 16(a)(1)(E).

       In Armstrong, 517 U.S. 456, the Supreme Court made clear that, to satisfy materiality

under Rule 16, the information must pertain to the defendant’s guilt or innocence with respect to

the crime charged. See id. at 463-64. The Fourth Circuit has explained: “For the defendant to

show materiality under this rule, ‘[t]here must be some indication that the pretrial disclosure of

the disputed evidence would have enabled the defendant significantly to alter the quantum of


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proof in his favor.’” United States v. Caro, 597 F.3d 608, 621 (4th Cir. 2010) (citation omitted).

For example, “‘[e]vidence is material as long as there is a strong indication that it will play an

important role in uncovering admissible evidence, aiding witness preparation, corroborating

testimony, or assisting impeachment or rebuttal.’” Caro, 597 F.3d at 621 (quoting United States

v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993)). Notably, the defendant bears the burden of

showing “that the information would . . . actually help[] prove his defense.” Caro, 597 F.3d at

621; see also United States v. Mandel, 914 F.2d 1215, 1219 (9th Cir. 1990) (“Neither a general

description of the information sought nor conclusory allegations of materiality suffice; a

defendant must present facts which would tend to show that the Government is in possession of

information helpful to the defense.”).

       The Armstrong Court concluded that information pertinent to a defendant’s claim of

selective prosecution is not material under Rule 16, because it concerns “an independent

assertion that the prosecutor has brought the charge for reasons forbidden by the Constitution.”

See 517 U.S. at 464. In other words, the selective prosecution claim was collateral to the

defendant’s guilt. Relying on Armstrong, 517 U.S. 456, the Government asserts that internal

memoranda concerning the Maynard decision are not material to Wilford’s defense, because

Rule 16 does not extend to “a defense based on a pretrial motion.” Disclosure Opp. at 4.

However, information material to the Motion to Suppress, although sought in connection with a

pretrial proceeding, might alter the “quantum of proof” in Wilford’s favor if the suppression

motion were successful. See, e.g., United States v. Cranson, 453 F.2d 123, 126 (4th Cir. 1971)

(explaining that defendant may use Rule 16 “to secure pre-trial information on identification

procedures undertaken by Government in advance of trial as a basis for a motion to suppress”).


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       In particular, certain information would be relevant to the Government’s good faith

defense under United States v. Leon, 468 U.S. 897 (1984), which I discuss, infra. For example,

if the investigating agents who were using the GPS devices on Wilford’s vehicles received

instructions from DOJ or their supervisors, directing their compliance in Maryland with

Maynard, this would be relevant to the claim of good faith. To be sure, Agent Lester claimed

that he did not recall any internal memoranda resulting from Maynard, advising against the

warrantless use of GPS tracking devices. See infra at 40-41. But, he was not the only law

enforcement agent involved in the investigation. Moreover, his memory might be incorrect.

Therefore, the defense is entitled to directives or instructions, if any, issued to the federal agents

involved in the investigation of Wilford, directing compliance in Maryland with Maynard during

any period of the investigation.

       The remainder of the defense’s discovery request is too broad.             Rule 16 does not

authorize “‘a shotgun fishing expedition.’” United States v. Anderson, 481 F.2d 685, 694 (4th

Cir. 1973) (citation omitted); see also Maranzino, 860 F.2d at 985 (“Rule 16 does not authorize a

blanket request to see the prosecution’s file.”). For example, Wilford requests, inter alia, “any

memo,” “email,” and “continued legal education newsletter” that discusses the D.C. Circuit’s

Maynard decision. Disclosure Motion ¶ 1. But, he has not explained why “any” discussion of

Maynard is pertinent to this case. Indeed, as I discuss, infra, the investigation in this case took

place in Maryland, not Washington, D.C., was conducted jointly with the State, and conformed

to State appellate precedent. And, the documents Wilford seeks are material to good faith only

insofar as they direct compliance in Maryland with Maynard by agents involved in the

investigation of Wilford at the relevant time. Other documents need not be disclosed.


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       Accordingly, Wilford’s Disclosure Motion will be granted, in part, and denied, in part.



       B. Motion to Suppress: GPS and Pinging

       The Fourth Amendment to the Constitution provides: “The right of the people to be

secure in their persons, houses, papers, and effects, against unreasonable searches and seizures,

shall not be violated, and no Warrants shall issue, but upon probable cause, supported by Oath or

affirmation, and particularly describing the place to be searched, and the persons or things to be

seized.” Yet, “it is silent about how this right is to be enforced.” Davis v. United States, ___

U.S. ___, 131 S. Ct. 2419, 2423 (2011). As a “supplement” to the Fourth Amendment, the

Supreme Court created the exclusionary rule, which “bars the prosecution from introducing

evidence obtained by way of a Fourth Amendment violation.” Id. The exclusionary rule applies

to “evidence obtained during illegal police conduct,” as well as “evidence that is the indirect

product of the illegal activity.” United States v. Oscar-Torres, 507 F.3d 224, 227 (4th Cir. 2007)

(citing Mapp v. Ohio, 367 U.S. 643, 655 (1961), and Wong Sun v. United States, 371 U.S. 471,

488 (1963)).

       Wilford invokes the Fourth Amendment’s exclusionary rule as to law enforcement’s

warrantless use of GPS tracking, as well as the use of cell phone pinging. In his view, evidence

derived from the use of these investigative tools should be suppressed. I disagree.

       1. Standing

       As a threshold matter, Wilford’s Fourth Amendment challenge is necessarily limited in

scope. A defendant bears the burden of establishing standing to challenge a Fourth Amendment

violation. See United States v. Bullard, 645 F.3d 237, 242 (4th Cir.), cert. denied, ___ U.S. ___,


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132 S. Ct. 356 (2011); United States v. Rusher, 966 F.2d 868, 874 (4th Cir. 1992). To do so, it is

not enough to be “aggrieved” by “the introduction of damaging evidence.” Alderman v. United

States, 394 U.S. 165, 172 (1969). Rather, a defendant may only challenge a Fourth Amendment

violation to the extent that his personal Fourth Amendment rights were violated. Rakas v.

Illinois, 439 U.S. 128, 140 (1978); see, e.g., Minnesota v. Carter, 525 U.S. 83, 88-91 (1998)

(holding that guests in apartment for cocaine transaction lacked standing to contest search of

apartment on Fourth Amendment grounds); United States v. Payner, 447 U.S. 727, 731-32

(1980) (holding that defendant lacked standing under Fourth Amendment to contest documents

seized illegally from a third party).

       Thus, a defendant has no standing to challenge the admission of evidence illegally

obtained from co-conspirators.      See United States v. Padilla, 508 U.S. 77, 82 (1993) (per

curiam). As the Fourth Circuit explained in United States v. Taylor, 857 F.2d 210, 214 (4th Cir.

1988), “Fourth Amendment rights are . . . personal rights,” which co-defendants “lack standing

to assert vicariously.” In other words, “‘[c]o-conspirators and codefendants have been accorded

no special standing.’” Padilla, 508 U.S. at 82 (quoting Alderman, 394 U.S. at 171-72). Indeed,

a search can be unconstitutional with respect to one person yet lawful as to another. United

States v. Gray, 491 F.3d 138, 144-45 (4th Cir. 2007), cert. denied, 552 U.S. 1190 (2008). And,

of import here, an individual “normally has no legitimate expectation of privacy in an

automobile in which he asserts neither a property interest nor a possessory interest.” United

States v. Carter, 300 F.3d 415, 421 (4th Cir. 2003) (citing Rakas, 439 U.S. at 148-49).

       As to GPS tracking, the parties stipulated at the hearing that Wilford has standing to

challenge the use of GPS devices on the Honda Crosstour registered to and used by him, and the


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Oldsmobile minivan registered to BLOW IT OFF POWER WASHING, when driven by him.

Wilford does not dispute that he lacks standing as to the other vehicles, in which he had no

property or possessory interest, or as to the minivan when it was driven by another person.

Further, Wilford lacks standing to challenge the pinging of any cell phone, other than his own.

       Therefore, Wilford appears to have abandoned his challenge to surveillance conducted on

October 8, 2010, or October 22, 2010, based on a GPS device located on Hayes’s vehicle. In any

event, he lacks standing to challenge the use of GPS tracking on Hayes’s vehicle. As to evidence

related to those dates, Wilford’s Motion to Suppress must be denied.

       2. GPS Tracking

       In Jones v. United States, supra, 132 S. Ct. 945, the Supreme Court held that “the

Government’s installation of a GPS device on a target’s vehicle,[] and its use of that device to

monitor the vehicle’s movements, constitutes a ‘search’” under the Fourth Amendment. Id. at

949. According to the majority opinion, authored by Justice Scalia, the use of a GPS device on a

target’s vehicle constitutes a search because it is a “common-law trespass” on the target’s

property.   Id. at 949-50.21   In so holding, the Court rejected the view that the reasonable

expectation of privacy test, articulated in Katz v. United States, 389 U.S. 347 (1967), necessarily

governs the existence of a search under the Fourth Amendment. See id. at 353 (holding that

defendant was protected from warrantless eavesdropping on phone call because he “justifiably

relied” upon privacy of phone booth); id. at 361 (Harlan, J., concurring) (“My understanding of

the rule that has emerged from prior decisions is that there is a twofold requirement, first that a

       21
         Justice Sotomayor, writing separately, provided the fifth vote for the majority position,
agreeing that a search occurs “at a minimum” when the Government procures information
through a physical intrusion. See 132 S. Ct. at 954. She noted that “physical intrusion is now
unnecessary to many forms of surveillance.” Id. at 955.
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person have exhibited an actual (subjective) expectation of privacy and, second, that the

expectation be one that society is prepared to recognize as ‘reasonable.’”).22 According to the

Jones majority, Katz did not “narrow the Fourth Amendment’s scope.” 132 S. Ct. at 951. The

Court explained: “[T]he Katz reasonable-expectation-of-privacy test has been added to, not

substituted for, the common law trespassory test.” Id. at 952 (emphasis in original). In contrast,

Justice Alito, joined by Justices Ginsberg, Breyer, and Kagan, disagreed with the majority’s

trespass test, but agreed that a search had occurred under the reasonable-expectation-of-privacy

test formulated in Katz. Id. at 957-64 (Alito, J., concurring in the judgment).

       Indisputably, the use of slap on GPS devices on Wilford’s vehicles qualifies as a search

under Jones. And, according to the “basic rule,” warrantless searches are per se unreasonable.

Arizona v. Gant, 556 U.S. 332, 338 (2009). Evidence derived through “the exploitation of that

illegality” ordinarily must be suppressed. Wong Sun, 371 U.S. at 488. However, Jones did not

address whether the use of a GPS tracking device requires a warrant, supported by probable

cause. See United States v. Sparks, 711 F.3d 58, 62 (1st Cir. 2013) (discussing what Jones did

not hold); e.g., Brigham City, Utah v. Stuart, 547 U.S. 398, 403 (2006) (“[L]aw enforcement

officers may make a warrantless entry onto private property . . . to prevent the imminent

destruction of evidence, or to engage in ‘hot pursuit’ of a fleeing suspect.”) (citations omitted);

Terry v. Ohio, 392 U.S. 1 (1968) (allowing temporary seizure of person based on reasonable

articulable suspicion that person is engaged in criminal activity, as opposed to probable cause).



       22
          Although Justice Harlan wrote a concurring opinion, his formulation is often quoted by
courts, see Kyllo v. United States, 533 U.S. 27, 33 (2001), and has been viewed as the operative
standard. See, e.g., Jones, 132 S. Ct. at 950 (discussing government’s reliance on “Harlan
standard”).
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The Government claims that the use of a GPS tracking device requires less than probable cause,

and that no warrant is required under Jones. I need not resolve those contentions, however.

       Even assuming, arguendo, that a GPS “search” does not fall within one of the “‘few

specifically established and well delineated exceptions’” to the warrant requirement, Minnesota

v. Dickerson, 508 U.S. 366, 372 (1993) (citation omitted), exclusion is not mechanically imposed

for every Fourth Amendment violation. “Whether the exclusionary sanction is appropriately

imposed in a particular case . . . is ‘an issue separate from the question [of] whether the Fourth

Amendment rights of the party seeking to invoke the rule were violated by police conduct.’”

United States v. Leon, 468 U.S. 897, 906 (1984) (quoting Illinois v. Gates, 462 U.S. 213, 223

(1983)).

       In this case, the Government’s warrantless use of GPS devices preceded the Jones

decision. Thus, I agree with the Government that it is entitled to rely on the good faith exception

to the exclusionary rule. See Leon, 468 U.S. at 923-24. In particular, I am satisfied that, at the

relevant time, law enforcement authorities reasonably relied on a comprehensive body of what

was regarded as settled law, including Maryland State appellate precedent, authorizing

warrantless GPS tracking. See Davis, 131 S. Ct. at 2428-30; Sparks, 711 F.3d at 67-68. And,

even in the absence of the good faith exception, the doctrines of inevitable discovery and

independent source apply. See Nix v. Williams, 467 U.S. 431, 443-44 (1984).

               a. Good Faith

       The exclusionary rule is a “‘prudential’ doctrine,” fashioned “to ‘compel respect for the

constitutional guaranty.’” Davis, 131 S. Ct. at 2426 (citations omitted). It “is ‘not a personal

constitutional right,’ nor is it designed to ‘redress the injury’ occasioned by an unconstitutional


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search.” Id. (quoting Stone v. Powell, 428 U.S. 465, 486 (1976)); see Leon, 468 U.S. at 906.

Indeed, the use of evidence obtained in violation of the Fourth Amendment “‘work[s] no new

Fourth Amendment wrong,’” id. (quoting United States v. Calandra, 414 U.S. 338, 354 (1974))

(alteration in Leon), but exclusion cannot remedy the constitutional violation. Id. Thus, “[t]he

[exclusionary] rule’s sole purpose . . . is to deter future Fourth Amendment violations.” Davis,

131 S. Ct. at 2426. In the absence of “‘appreciable deterrence,’ exclusion is ‘clearly . . .

unwarranted.’” Id. (quoting United States v. Janis, 428 U.S. 433, 454 n. 29 (1976)) (alteration in

Davis).

          Notably, “[e]xclusion exacts a heavy toll on both the judicial system and society at

large,” because “[i]t almost always requires courts to ignore reliable, trustworthy evidence.”

Davis, 131 S. Ct. at 2427. The “‘unbending application’” of the exclusionary rule “‘would

impede unacceptably the truth-finding functions of judge and jury,’” and “‘generat[e] disrespect

for the law and administration of justice.’” Leon, 468 U.S. at 907-08 (citations omitted). As a

result, the exclusionary rule calls for a “balancing approach,” which entails weighing the

deterrent effect of suppression against the costs of exclusion, on a case-by-case basis. See id. at

913-24. To warrant exclusion, the “deterrence benefits of suppression must outweigh its heavy

costs.” Davis, 131 S. Ct. at 2427.

          The cost of exclusion is particularly high—and often disproportionate to exclusion’s

deterrent effect—“when law enforcement officers have acted in objective good faith or their

transgressions have been minor.” Leon, 468 U.S. at 908. In Leon the Court considered whether

“suppressing evidence obtained in objectively reasonable reliance on a subsequently invalidated

search warrant” was justified. Id. at 922. Answering this question in the negative, the Court


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held that a police officer’s reliance on a technically sufficient warrant, supported by a magistrate

judge’s probable cause determination, was objectively reasonable, and thus evidence seized

pursuant to an invalid warrant was not subject to suppression. See id. at 922-23. Quoting United

States v. Peltier, 422 U.S. 531, 539 (1975), the Leon Court explained, 468 U.S. at 919:

       “The deterrent purpose of the exclusionary rule necessarily assumes that the
       police have engaged in willful, or at the very least negligent, conduct which has
       deprived the defendant of some right. By refusing to admit evidence gained as a
       result of such conduct, the courts hope to instill in those particular investigating
       officers, or in their future counterparts, a greater degree of care toward the rights
       of an accused. Where the official action was pursued in complete good faith,
       however, the deterrence rationale loses much of its force.”

See also Herring v. United States, 555 U.S. 135 (2008) (declining to suppress evidence based on

police recordkeeping error); Massachusetts v. Shephard, 468 U.S. 981 (1984) (declining to apply

exclusionary rule where warrant was invalidated due to a judge’s clerical error).

       The “good faith” exception carries equal force when law enforcement agents act in

reasonable reliance on judicial decisions authorizing their conduct, although the conduct is

subsequently deemed unconstitutional.        See Davis, 131 S. Ct. at 2428-30 (holding that

exclusionary rule did not apply to evidence obtained by officers acting in reliance on then-

binding federal appellate precedent, although precedent was subsequently overruled and the

officers’ conduct held to violate the Fourth Amendment). The same reasoning applies when law

enforcement agents act in accordance with a state statute. See Illinois v. Krull, 480 U.S. 340,

356-60 (1987) (holding that exclusionary rule did not apply to evidence obtained by officers

acting in reliance on state statute authorizing warrantless administrative search, where statute

was subsequently found to violate the Fourth Amendment and search was deemed

unconstitutional).


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       In Davis, 131 S. Ct. 2419, the Supreme Court considered the legality of a search that

violated the Supreme Court’s decision in Arizona v. Gant, 556 U.S. 332 (2009), but occurred two

years prior to the ruling in Gant. In Gant, the Court held that a warrantless vehicle search

incident to lawful arrest is not valid if it occurs after the defendant is arrested, handcuffed, and

placed in the back of a patrol car. See id. at 335. In so holding, the Court departed from the

decision in New York v. Belton, 453 U.S. 454 (1981), which “was widely understood to have set

down a simple, bright-line rule” authorizing warrantless “automobile searches incident to arrests

of recent occupants, regardless of whether the arrestee . . . was within reaching distance of the

vehicle at the time of the search.” Davis, 131 S. Ct. at 2424 (citing Thornton v. United States,

541 U.S. 615, 628 (2004) (Scalia, J., concurring in the judgment)). At the time of the search at

issue in Davis, the search did not comport with Gant, but it complied with appellate precedent in

the Eleventh Circuit in effect at the time of the search, which had “long read Belton to establish

[such] a bright-line rule.” Davis, 131 S. Ct. at 2426 (citing United States v. Gonzalez, 71 F.3d

819, 822, 824-827 (11th Cir. 1996)).

       The Supreme Court held that when law enforcement agents conduct a search in

objectively reasonable reliance on binding appellate precedent, police culpability is wholly

absent. See id. at 2428-29. It reasoned, id.:

       The officers who conducted the search did not violate Davis’s Fourth Amendment
       rights deliberately, recklessly, or with gross negligence. Nor does this case
       involve any “recurring or systemic negligence” on the part of law enforcement.
       The police acted in strict compliance with binding precedent, and their behavior
       was not wrongful. Unless the exclusionary rule is to become a strict-liability
       regime, it can have no application in this case.

       The Court elaborated: “[W]hen binding appellate precedent specifically authorizes a

particular police practice, well-trained officers will and should use that tool to fulfill their crime-

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detection and public-safety responsibilities.” Id. at 2429 (emphasis in original). In the Court’s

view, “all that exclusion would deter in this case is conscientious police work.” Id.; see also

Krull, 480 U.S. at 350 (“If the statute is subsequently declared unconstitutional, excluding

evidence obtained pursuant to it prior to such a judicial declaration will not deter future Fourth

Amendment violations by an officer who has simply fulfilled his responsibility to enforce the

statute as written.”).

        United States v. Wilks, 647 F.3d 520 (4th Cir. 2011), also provides guidance. There, the

Fourth Circuit considered a search akin to that in Davis. At the time of the search, it comported

with then-binding Fourth Circuit precedent, later overruled by Gant. See id. at 521-22. Law

enforcement officers searched the front seat of a vehicle after handcuffing the defendant and

placing him in the back seat of the patrol car. Id. at 521. The parties did not dispute that, under

United States v. Milton, 52 F.3d 78, 80 (4th Cir. 1995), the search of the vehicle “was

permissible at the time.” Wilks, 647 F.3d at 522. Finding the case to be “on all fours” with

Davis, the Fourth Circuit held that the exclusionary rule did not bar the admission of evidence

recovered during the search. Id. at 524.

        Invoking Leon and Davis, the Government urges that the exclusionary rule is not

appropriate here, because “law enforcement agents . . . were acting in accordance with what was

understood at the time to have been well-settled law, i.e., that under [United States v. Knotts, 460

U.S. 276 (1983),] the use of a GPS tracking device was not a ‘search’ because it did not infringe

upon a reasonable expectation of privacy since a defendant’s vehicular movements were exposed

to the public.” Opp. at 27.




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       Knotts involved the investigation by law enforcement agents of a suspected amphetamine

manufacturing ring. 460 U.S. at 277-79. Agents arranged with the seller of chloroform, used in

the manufacturing process, to place a radio transmitter, i.e., a beeper, inside a chloroform

container sold to one of the members of the ring. Id. at 278. They then relied upon the beeper to

track the route of the vehicle used by a second suspect, who took the chloroform to a “secluded

cabin.” Id. at 277-78. After several days of surveillance, the agents obtained a search warrant

for the cabin. The ensuing search revealed “a fully operable, clandestine drug laboratory.” Id. at

279. The defendant, who owned the cabin, moved to suppress the evidence found inside,

claiming the agents had violated his Fourth Amendment rights by using the beeper placed in the

chloroform container to follow his co-defendant to the location. Id. at 284-85.

       Citing the Supreme Court’s 1967 decision in Katz v. United States, supra, 389 U.S. 347,

the Knotts Court rejected the argument. It said, 460 U.S. at 281: “A person travelling in an

automobile on public thoroughfares has no reasonable expectation of privacy in his movements

from one place to another.” In the Court’s view, “[t]he government surveillance conducted by

the means of the beeper in this case amounted to principally following an automobile on public

streets and highways.” Id. The Court reasoned that when the defendant “travelled over the

public streets he voluntarily conveyed to anyone who wanted to look the fact that he was

travelling over particular roads,” including “his final destination when he exited the public roads

onto private property.”     Id. at 281-82.    Concluding that the defendant had no reasonable

expectation of privacy, the Court said, id. at 282:

       Visual surveillance from public places . . . would have sufficed to reveal all of
       these facts to the police. The fact that the officers in this case relied not only on
       visual surveillance, but on the use of the beeper to signal the presence of [the co-
       defendant’s] automobile to the police receiver, does not alter the situation.

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       Nothing in the Fourth Amendment prohibited the police from augmenting the
       sensory faculties bestowed upon them at birth with such enhancement as science
       and technology afforded them in this case.

       United States v. Karo, 468 U.S. 705 (1984), presented a variation on Knotts. There, law

enforcement placed a beeper into a can of ether and monitored it while it was in the defendant’s

house. Id. at 708-10. The Supreme Court found no Fourth Amendment violation occasioned by

the installation of the beeper in the can, which was done before it was transferred into the

defendant’s possession. Id. at 712-13. Rather, it held that the Fourth Amendment was violated

by the Government’s monitoring of the beeper while it was inside the defendant’s residence. Id.

at 714. The Court explained, id. at 715:

       The beeper tells the agent that a particular article is actually located at a particular time in
       the private residence and is in the possession of the person or persons whose residence is
       being watched. Even if visual surveillance has revealed that the article to which the
       beeper is attached has entered the house, the later monitoring not only verifies the
       officers’ observations but also establishes that the article remains on the premises.

Unlike in Knotts, where “the beeper told the authorities nothing about the interior of Knotts’

cabin,” and the car’s travel on public roads was “‘voluntarily conveyed to anyone who wanted to

look,’” the presence of the can of ether inside the house “could not have been visually verified”

without entering the home. Id. at 715 (quoting Knotts, 460 U.S. at 281).

       In view of Knotts, federal appellate courts reached a substantial consensus that the use of

a GPS device to track the location of a target vehicle did not constitute a search under the Fourth

Amendment. Indeed, at the time the GPS devices were used in this case, every federal court of

appeals to address the question had, with the exception of the D.C. Circuit in United States v.

Maynard, 615 F.3d 544 (D.C. Cir. 2010), held that warrants were not required for GPS tracking

devices. See United States v. Pineda-Moreno, 591 F.3d 1212, 1216-17 (9th Cir. 2010) (holding


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that GPS tracking device used to monitor individual’s movements in his vehicle was not a

search, relying on Knotts); United States v. Garcia, 474 F.3d 994, 997-98 (7th Cir. 2007) (same);

United States v. Marquez, 605 F.3d 604, 609-10 (8th Cir. 2010) (suggesting same result, but in

the alternative to a determination that defendant lacked standing to raise a challenge); United

States v. Smith, 387 F. App’x 918, 920-21 (11th Cir. 2010) (unpublished) (same). The federal

district courts had reached the same result. See, e.g., United States v. Burton, 698 F. Supp. 2d

1303, 1307-08 (N.D. Fla. 2010); United States v. Jesus-Nunez, No. 1:10-CR-00017-01, 2010 WL

2991229, *5 (M.D. Pa. July 27, 2009); United States v. Moran, 349 F. Supp. 2d 425, 467-68

(N.D.N.Y. 2005). And, even after Maynard was decided in August 2010, courts distinguished or

rejected the view of the D.C. Circuit. See, e.g., United States v. Hernandez, 647 F.3d 216, 220-

21 (5th Cir. 2011) (distinguishing use of GPS device for a cross-country trip, as opposed to

continuous surveillance); United States v. Narrl, 789 F. Supp. 2d 645, 648-52 (D.S.C. 2011)

(upholding warrantless GPS tracking used for 27 days).

          Fed. R. Crim. P. 41 governs the issuance of a warrant in a federal criminal proceeding.

The 2006 Advisory Committee’s Note to Rule 41 cited Knotts and Karo for the proposition that,

under the Katz test, warrantless GPS tracking is lawful, except in areas reasonably considered

private. It stated: “Warrants may be required to monitor tracking devices when they are used to

monitor persons or property in areas where there is a reasonable expectation of privacy.” Fed.

R. Crim. P. 41(b) advisory committee’s note (2006) (citing Karo, 468 U.S. 705) (emphasis

added).      Therefore, it stated: “If the officers intend to install or use the device in a

constitutionally protected area, they must obtain judicial approval to do so.” Id. Of import here,

it also said: “If, on the other hand, the officers intend to install and use the device without


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implicating any Fourth Amendment rights, there is no need to obtain the warrant.” Id. (citing

Knotts, 460 U.S. 276) (emphasis added).

       As noted, the underlying investigation began as a joint State and federal effort, under the

guidance of a State prosecutor. In this context, it is noteworthy that a decision by the Maryland

Court of Special Appeals, in effect at the relevant time, had concluded, in reliance on Knotts, that

the warrantless use of a GPS device did not violate the Fourth Amendment. See Stone v. State,

178 Md. App. 428, 446-50, 941 A.2d 1238, 1249-51 (2008), abrogated after Jones by Kelly v.

State, 208 Md. App. 218, 56 A.3d 523 (2012) (recognizing Jones but applying good faith

exception to exclusionary rule for warrantless use of GPS tracking devices).

       In Stone, the Maryland Court of Special Appeals, the State’s second highest court,

reviewed the legality of the warrantless attachment of a GPS tracking device to a pickup truck

that ultimately led to the defendant’s arrest. See 178 Md. App. at 434-38, 941 A.2d at 1242-44.

The court said: “The GPS tracking device in the case at bar is simply the next generation of

tracking science and technology from the radio transmitter beeper in Knotts, to which the Knotts

Fourth Amendment analysis directly applies.” Stone, 178 Md. App. at 448, 941 A.2d at 1250.

Thus, the defendants “did not have a reasonable expectation of privacy in their location as they

traveled on public thoroughfares.” Id.

       In my view, law enforcement agents could not have reasonably anticipated that in Jones

the Supreme Court would revive trespass in Fourth Amendment jurisprudence. Knotts was, for

all intents and purposes, reasonably viewed as the operative law. See, e.g., Sparks, 711 F.3d at

67 (holding that Knotts qualified as binding appellate precedent for purposes of Davis good faith

exception, despite absence of First Circuit precedent addressing GPS, because “Knotts’s apparent


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bright-line rule that the Fourth Amendment is unconcerned with police surveillance of public

automotive movements is analogous to Belton’s bright-line rule authorizing officers to search the

passenger compartment of an arrestee’s car.”). Indeed, as Judge James Bredar observed in

United States v. Stephens, this area of the law seemed settled prior to Jones. United States v.

Stephens, JKB-11-cr-0447 (D. Md. Mar. 28, 2012) (declining to apply exclusionary rule to

evidence obtained through GPS device prior to Jones) (transcript at 126-31). Reliance on

principles of property law, such as trespass, had been dormant. See, e.g., United States v. Jones,

31 F.3d 1304, 1309 (4th Cir. 1990) (“An individuals’ capacity to claim the protection of the

Fourth Amendment depends not upon a property right in an invaded place, but upon whether the

person has a legitimate expectation of privacy in the invaded place.”) (citing Katz, 389 U.S. at

353); United States v. Michael, 645 F.2d 252, 255 (5th Cir. 1981) (en banc) (“Although

originally viewed as protecting property rights of individuals, the Supreme Court has . . . rejected

the idea that [F]ourth [A]mendment coverage turns on ‘arcane distinctions developed in property

. . . law.’”) (citation omitted).

        To be sure, the Fourth Circuit had not opined on the legality of warrantless GPS tracking

devices at the time of the Hayes DTO investigation. And, I recognize that other federal courts

have, since Jones, determined that the good faith exception does not apply in the absence of

binding federal appellate precedent. See, e.g., United States v. Ortiz, 878 F. Supp. 2d 515, 539-

43 (E.D. Pa. 2012); United States v. Lee, 862 F. Supp. 2d 560, 567-671 (E.D. Ky. 2012); United

States v. Lujan, No. 2:11CR11–SA, 2012 WL 2861546, *3 (N.D. Miss. July 11, 2012).

However, the Maryland Court of Special Appeals had addressed the issue in Stone, and it

unequivocally found no Fourth Amendment violation. This is relevant because the investigation


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in this case was conducted jointly by federal and State law enforcement authorities. Notably, the

Stone decision constituted binding appellate precedent in Maryland State courts. See Archers

Glen Partners, Inc. v. Garner, 176 Md. App. 292, 325, 933 A.2d 405, 424 (2007) (explaining

that “a reported decision” of the Maryland Court of Special Appeals “constitutes binding

precedent”); e.g., Kelly, 208 Md. App. at 248, 56 A.3d at 541 (treating Stone as binding appellate

precedent under Davis).

       Specifically, although the case agents were all members of a “DEA Task Force,” the

investigation involved both federal and State law enforcement authorities, including the DEA,

the Baltimore County Police Department, the Baltimore City Police Department, the Maryland

Transportation Authority Police, and the IRS. According to Agent Lester, the investigation was

“primarily” run at the State level, and only “turned” federal at the end. As noted, an Assistant

State’s Attorney for Baltimore City was the lead State prosecutor. She would have been aware

of the use of GPS devices, and undoubtedly would have viewed their legality as governed by the

Stone decision. She did not direct law enforcement agents to obtain warrants. In the period of

January 2011 to March 2011, federal prosecutors received only occasional phone calls

summarizing the status of the investigation, but did not direct any aspects of it. By the Spring of

2011, a decision was made to prosecute some members of the Hayes DTO in federal court. But,

several individuals were, in fact, prosecuted by the State.

       As Wilford points out, the investigation of the Hayes DTO began after the D.C. Circuit’s

decision in Maynard, in which that court held that the warrantless use of a GPS device to track a

target vehicle’s movements for 28 days constituted an illegal search under the Fourth

Amendment. See 615 F.3d at 558-64. On this basis, Wilford insists that the good faith doctrine


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does not apply to the warrantless use of the GPS devices for his Crosstour for a period of 78

days, and for a period of 68 days for the Oldsmobile minivan he occasionally drove. According

to Wilford, as a result of the Maynard decision, law enforcement agents were “on notice” that

monitoring a target’s location through a GPS device for such extended periods, and without a

warrant, would violate the Fourth Amendment, tainting the evidence derived therefrom. Motion

to Suppress at 10. At least one federal trial court has agreed with Wilford that a circuit split as to

this issue defeats the good faith exception, in the absence of binding federal appellate precedent

in the applicable circuit. See United States v. Katzin, Criminal Action No. 11-226, 2012 WL

1646894, *7-10 (E.D. Pa. May 9, 2012). And, at the relevant time, no Fourth Circuit decision

had approved of the agents’ conduct.

       I am not persuaded by Wilford’s view. As noted, the exclusionary rule is not a “strict-

liability” regime. See Davis, 131 S. Ct. at 2429. To merit suppression of evidence obtained by

an unlawful search, the conduct of law enforcement must, at least to some degree, exhibit

deliberate, reckless, grossly negligent, or systemically negligent disregard for the Fourth

Amendment. Davis, 131 S. Ct. at 2427; Herring, 555 U.S. at 144. None of these qualities is

evident here. Notably, Maynard was decided in another jurisdiction and it was generally an

outlier. Moreover, Maryland appellate precedent in Stone, binding in the Maryland courts,

conformed to the substantial consensus of the federal courts. And, as Agent Lester’s testimony

established, the Maynard decision was not recklessly or deliberately disregarded by the law

enforcement agents.

       Agent Lester testified that he was aware of the decision in Maynard in August 2010, and

he discussed with Agent Edwards that they would need a warrant to use a GPS if they were in


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Washington, D.C. But, to his knowledge, the warrantless use of a GPS device was lawful

everywhere other than Washington, D.C., which the investigation did not reach. He also stated

that no supervisor directed the agents to obtain a warrant, unless they were in Washington, D.C.

Moreover, the investigation was conducted jointly with the State, and the Assistant State’s

Attorney who supervised it did not advise the agents to obtain a warrant for the use of the GPS

devices in Maryland. Although Lester did not discuss with federal prosecutors whether to obtain

a warrant, he did not recall any instructions from the Justice Department as to the need for a

warrant. It was, in his words, “business as usual” after Maynard. Indeed, Lester stated that until

Jones was decided in January 2012, it was “not the practice” of any of his colleagues to obtain a

warrant for the use of GPS devices.23 Lester also testified that he and his colleagues thought that

Maynard would be reversed.

       In view of Agent Lester’s testimony, which I find to be quite credible; the substantial

consensus among other federal courts at the time; the 2006 Advisory Committee’s Note to Fed.

R. Crim P. 41; and Maryland appellate law, which governed the State prosecutor in the joint

investigation, the Maynard decision did not render the conduct of the law enforcement agents

objectively unreasonable. Nor would application of the exclusionary rule further its goals, given

the shift in extra-jurisdictional case law. As the Supreme Court reiterated in Davis, deterrence

cannot justify exclusion of evidence when law enforcement agents conformed their conduct to

what was reasonably understood to be the governing law; law enforcement agents cannot




       23
          Agent Lester recounted one instance when a warrant was obtained for a GPS device.
He explained that law enforcement agents obtained the warrant because they had to seize the
vehicle to install the device.
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reasonably be expected to conform their investigative practices to every shift in appellate law in

another jurisdiction. In comparison, the cost of exclusion would be high.

       To be sure, “‘[t]he justifications for the good-faith exception do not extend to situations

in which police officers have interpreted ambiguous precedent or relied on their own

extrapolations from existing caselaw.’” Sparks, 711 F.3d at 67-68 (quoting United States v.

Davis, 598 F.3d 1259, 1267 (11th Cir. 2010), aff’d 131 S. Ct. 2419 (2011)). That is not the case

here, however, “where new developments in the law have upended the settled rules on which the

police relied.” Sparks, 711 F.3d at 68.

       In United States v. Baez, 878 F. Supp. 2d 288 (D. Mass. 2012), the court acknowledged

the “problematic . . . impact of Jones in jurisdictions which had no binding precedent.” Its

reasoning is persuasive, id. at 297:

               A rigorous and realistic cost-benefit analysis recognizes that there is no
       meaningful deterrence value to be gained—and a great deal of benefit in terms of
       truth seeking and public safety to be lost—by discouraging such good faith
       reliance and thereby making law enforcement officers unduly cautious in pursuing
       investigatory initiatives. To be sure, a different approach might be chosen in
       which law enforcement agents take no steps—without asking permission of a
       court—regarding the myriad circumstances in which there is no precedential case
       on point. Such a regime seems unnecessarily unwieldy—and potentially
       enervating to timely police action in other settings—when, as here, a substantial
       consensus among precedential courts provides a good faith basis for the
       investigatory initiative law enforcement agents seek to pursue.

       In sum, I find that the good faith exception under Leon and its progeny applies here.

Therefore, I decline to suppress evidence derived from the warrantless use of GPS tracking

devices. However, defendant may renew his argument as to the inapplicability of the good faith

defense in the event that Government disclosures in discovery reveal directives instructing

compliance with Maynard at the relevant time.


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               b. Inevitable Discovery and Independent Source

        Even if good faith were not applicable, suppression of evidence derived from warrantless

GPS tracking would nonetheless be inappropriate. The exclusionary rule does not require

suppression of all evidence obtained “‘but for the illegal actions of the police.’” Hudson v.

Michigan, 547 U.S. 586, 592 (2006) (quoting Segura v. United States, 468 U.S. 796, 815

(1984)). When the discovery of evidence is “too attenuated” from the constitutional violation,

application of the exclusionary rule is not justified. See Hudson, 547 U.S. at 592-93. This

principle takes form in the doctrines of independent source and inevitable discovery. See id.

        “The independent source doctrine allows admission of evidence that has been discovered

by means wholly independent of any constitutional violation.” Nix, 467 U.S. at 443; see Murray

v. United States, 487 U.S. 533, 537 (1988); Segura, 468 U.S. at 814. In other words, if the

evidence would have been obtained “even absent an illegal search,” it is admissible. Bullard,

645 F.3d at 244. To illustrate, “where an unlawful entry has given investigators knowledge of

facts x and y, but fact z has been learned by other means, fact z can be said to be admissible

because derived from an ‘independent source.’” Murray, 487 U.S. at 538 (citing Segura, 468

U.S. 796). The rationale of the independent source doctrine is that “the interest of society in

deterring unlawful police conduct and the public interest in having juries receive all probative

evidence of a crime are properly balanced by putting the police in the same, not a worse, position

than they would have been in if no police error or misconduct had occurred.” Nix, 467 U.S. at

443.

        Similarly, the doctrine of inevitable discovery permits the introduction of evidence if it

“ultimately or inevitably would have been discovered by lawful means.” Id. at 444; see United


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States v. Whitehorn, 813 F.2d 646, 650 (4th Cir. 1987). However, “the fact making discovery

inevitable must ‘arise from circumstances other than those disclosed by the illegal search itself.’”

United States v. Thomas, 955 F.2d 207, 211 (4th Cir. 1992) (quoting United States v. Boatwright,

822 F.2d 862, 865 (9th Cir. 1987)). In Nix, for example, a detective persuaded the defendant to

reveal the location of the body of a murder victim, but, in so doing, violated the defendant’s right

to counsel. 467 U.S. at 444. Because a comprehensive search for the victim’s body was under

way, the Court held suppression inappropriate because the body inevitably would have been

discovered. Id. Again, in such circumstances, “the deterrence rationale” of exclusion “has so

little basis that the evidence should be received.” Id.

       Here, GPS tracking was not the only basis for the surveillance of Wilford.              Law

enforcement pinged Wilford’s cell phone, pursuant to court orders that, as I will discuss, were

lawful. Additionally, law enforcement authorities were simultaneously tracking Wilford’s co-

conspirators, through GPS and pinging, which Wilford lacks standing to challenge.

       For example, as indicated, supra, through GPS tracking in October 2010, the police

surveilled Hayes, who was meeting with an unknown male, later identified as Wilford. On

December 17, 2011, law enforcement conducted surveillance of the meeting between Hayes and

Wilford based on GPS tracking of their respective vehicles as well as pinging of their respective

cell phones. Similarly, on March 17, 2011, law enforcement conducted surveillance of Wilford

and Hawkins based on GPS tracking of their respective vehicles and pinging of Wilford’s cell

phone. And, on April 1, 2011, GPS was not used to locate Wilford or members of the Hayes

DTO for surveillance, which was conducted at 1500 Cliftview Avenue. Thus, even if the good

faith exception were not applicable to GPS tracking, alternative and independent means of


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investigation enabled law enforcement to conduct at least some, if not all, of the surveillance on

Wilford that is at issue. Under the inevitable discovery and independent source doctrines,

suppression of evidence derived from GPS tracking is not required.

       3. Cell Phone Pinging

       Wilford has also moved to suppress evidence obtained as a result of the court-authorized

pinging of his cell phone. Specifically, he argues that cell phone pinging is not authorized by

Maryland’s pen register and trap and trace statute (the “pen register statute”), C.J. §§ 10-4B-01,

et seq. He argues: “If the State statute were meant to allow for the invasion of privacy that cell

phone tracking entails, the statute, to be constitutionally valid, would need to provide for a

finding of probable cause.” Motion to Suppress at 25.

       A “pen register” is defined in the Maryland Code as “a device or process that records and

decodes dialing, routing, addressing, or signaling information transmitted by an instrument or

facility from which a wire or electronic communication is transmitted.” C.J. § 10-4B-01(c)(1).

A “trap and trace device” is defined in the statute as “a device or process that captures incoming

electronic or other impulses that identify the originating number or other dialing, routing,

addressing, and signaling information reasonably likely to identify the source of a wire or

electronic communication.” Id. § 10-4B-01(d)(1). The statutory definitions specifically exclude

any device or process used to “obtain the content of a communication,” id. § 10-4B-01(c)(2)(ii),

(d)(2)—in other words, “any information concerning the identity of the parties to the

communication or the existence, substance, purport, or meaning of that communication.” Id. §

10-401(7).




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       “Wire communication” and “electronic communication” are defined in C.J. § 10-401.

“‘Wire communication’ means any aural transfer made in whole or in part through the use of

facilities for the transmission of communications by the aid of wire, cable, or other like

connection between the point of origin and the point of reception (including the use of a

connection in a switching station) furnished or operated by any person licensed to engage in

providing or operating such facilities for the transmission of communications.” Id. § 10-401(18).

“‘Electronic communication’ means any transfer of signs, signals, writing, images, sounds, data,

or intelligence of any nature transmitted in whole or in part by a wire, radio, electromagnetic,

photoelectronic, or photooptical system,” and excludes “any wire or oral communication,” “any

communication made through a tone-only paging device,” and “any communication from a

tracking device.” Id. § 10-401(5).

       The Maryland pen register statute, C.J. § 10-4B-02, provides, in part: “[A] person may

not install or use a pen register or a trap and trace device without first obtaining a court order

under [C.J.] § 10-4B-04 . . . .” C.J. § 10-4B-3(a) states: “An investigative or law enforcement

officer may make application for an order . . . under [C.J.] § 10-4B-04 . . . authorizing or

approving the installation or use of a pen register or a trap and trace device, in writing, under

oath or equivalent affirmation, to a court of competent jurisdiction of this State [i.e., Maryland].”

Id. § 10-4B-03(a). “‘Court of competent jurisdiction’ means ‘any [Maryland] circuit court

having jurisdiction over the crime being investigated regardless of the location of the instrument

or process from which a wire or electronic communication is transmitted or received.’” C.J. §

10-4B-01(b). The application must include “[t]he identity of the State law enforcement or

investigative officer making the application and the identity of the law enforcement agency


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conducting the investigation,” accompanied by “[a] statement under oath by the applicant that

the information likely to be obtained is relevant to an ongoing criminal investigation being

conducted by that agency.”      Id. § 10-4B-03(b).      Authorization may be obtained ex parte,

provided that the issuing court “finds that the information likely to be obtained by the installation

and use is relevant to an ongoing criminal investigation.” Id. § 10-4B-03(b).

       Wilford maintains that pinging is not authorized under the Maryland pen register statute.

In particular, he argues that the statutory language “is limited to providing law enforcement

numbers that dialed into the target phone and numbers dialed out,” but does “not contemplate”

the use of a cell phone as a “physical locator/tracking device.” Motion to Suppress at 24. He

also contends that an order authorizing pinging must be supported by a finding of probable

cause, whereas C.J. § 10-4B-03(b) only requires “that the information likely to be obtained is

relevant to an ongoing criminal investigation being conducted by that agency.” Id. at 25.

       The Government counters that pinging falls under the statutory definition of a “pen

register,” as a “device or process that records and decodes . . . signaling information,” i.e.,

location signals, transmitted by a cell phone. C.J. § 10-4B-01(c)(1). The Government advises:

“Since 2007, the [Baltimore Police Department] has submitted applications for orders

authorizing the installation and use of pen register, trap and trace, and cellular tracking devices,

pursuant to . . . [C.J.] § 10-4B-03, to obtain electronic geographical location/pinging data from

common communications carriers.” Gov’t Supp. Memo at 2.

       In support of its position, the Government submitted the Declaration of Lt. David

Rosenblatt (“Rosenblatt Decl.,” ECF 181-1), who serves as the Commanding Officer of the

BPD’s “Criminal Investigation Division – Advanced Technical Team,” (“CID-ATT”), a section


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of the BPD “that is responsible for investigating crimes where cellular telephones are involved.”

Rosenblatt Decl. ¶ 2-3. According to Lt. Rosenblatt, “[o]n average, the BPD CID-ATT submits

to and obtains from the Circuit Court for Baltimore City approximately 25-35 orders per week to

obtain electronic geographical location information/pinging data,” and “approximately 20

additional orders per week are submitted and obtained by other investigative units of the BPD.”

Id. ¶ 5. Further, he avers: “The current practice in Baltimore City is to include a statement of

probable cause in support of the applications . . . .” Id. Additionally, he asserts: “To the best of

my knowledge, this practice has not been challenged or questioned by any judge in Baltimore

City.” Id.

       With respect to whether the statute permits “pinging,” the parties dispute the plain

meaning of the statutory language. No judicial decision offers any guidance as to the scope of

the Maryland statute with respect to pinging.24

       Even accepting, arguendo, defendant’s contention that pinging is not embraced by the

pen register statute, that proposition alone does not provide a basis for suppression. Notably, the

Maryland Code does not include a suppression remedy for evidence obtained in violation of the

pen register statute. See Sun Kin Chan v. Maryland, 78 Md. App. 287, 310-11, 552 A.2d 1351,

1362-63 (1989) ((holding suppression remedy unavailable for evidence obtained in violation of

       24
           Two bills were submitted to the 2013 session of the Maryland General Assembly,
which concluded in April 2013. One would have required a finding of probable cause for law
enforcements’ use of a tracking device, such as pinging. See H.B. 377, 2013 Leg. Sess. (Md.
2013) (proposing revision to C.J. §§ 10-4B-01, et seq., as to authorization of law enforcement’s
receipt of real-time location information, to require a finding that “there is probable cause to
believe that the real-time location information is relevant to an ongoing criminal investigation”).
The other, H.B. 887, 2013 Leg. Sess. (Md. 2013), proposed revisions to Md. Code, Crim. P. § 1-
203.1, to require law enforcement to obtain a search warrant before obtaining location
information generated by an electronic device, such as a cell phone. Neither bill was passed by
the legislature.
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Maryland pen register statute, because “[n]one has ever been created to handle violations of pen

register statutes, either at the Federal or state level,” and “[t]herefore, none exists”); see also

Upshur v. State, 208 Md. App. 383, 399, 56 A.3d 620, 629 (2012) (same). Rather, the pen

register statute provides only for financial and criminal penalties.      See C.J. § 10-4B-02(c)

(providing that a person who violates the statute faces “a fine not exceeding $5,000 or

imprisonment not exceeding 1 year, or both”). And, even if a suppression remedy existed under

State law, exclusion would not automatically be mandated in federal court. See United States v.

Clenney, 631 F.3d 658, 667 (4th Cir. 2011) (explaining that Virginia law could not “direct

federal courts to exclude evidence obtained in violation of state statutes” because “[f]ederal not

state law ‘governs the admissibility of evidence obtained by state officers but ultimately used in

a federal prosecution’”) (quoting United States v. Clyburn, 24 F.3d 613, 616 (4th Cir. 1994)).

       Moreover, a criminal defendant is not ipso facto entitled to an exclusionary remedy for

evidence obtained in violation of the law:

       Although exclusion is the proper remedy for some violations of the Fourth
       Amendment, there is no exclusionary rule generally applicable to statutory
       violations. Rather, the exclusionary rule is an appropriate sanction for a statutory
       violation only where the statute specifically provides for suppression as a remedy
       or the statutory violation implicates underlying constitutional rights such as the
       right to be free from unreasonable search and seizure.

United States v. Abdi, 463 F.3d 547, 556 (6th Cir. 2006). As the Fourth Circuit recently said:

“‘The availability of the suppression remedy for . . . statutory, as opposed to constitutional,

violations . . . turns on the provisions of [the statute] rather than the judicially fashioned

exclusionary rule aimed at deterring violations of Fourth Amendment rights.’” Clenney, 631

F.3d at 667 (quoting United States v. Donovan, 429 U.S. 413, 432 n. 22 (1977)) (alterations in

Clenney).

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       To be sure, the lack of a suppression remedy for a statutory violation is troubling in cases

implicating Fourth Amendment concerns.25 But, it is not my province to write an exclusionary

rule into Maryland’s pen register statute, where none exists. “One may not wish an exclusionary

rule into being by waving a magic wand.” Sun Kin Chan, 78 Md. App. at 311, 552 A.2d at 1363;

see, e.g., Clenney, 631 F.3d at 667 (holding that exclusionary remedy was not available for law

enforcement’s violations of the Electronic Communications Protection Act, 18 U.S.C. § 2703(c),

and Virginia consumer protection law, Va. Code Ann. § 19.2-70.3); Abdi, 463 F.3d at 556-57

(holding that district court erred in suppressing evidence derived from failure to obtain an

administrative warrant because “nothing in the text of [the statute] provides an independent

statutory remedy of suppression”); United States v. Jones, ___ F. Supp. 2d ___, 2012 WL

6443136, *4 (D.D.C. Dec. 14, 2012) (“Even assuming the applications [for cell phone location

data] lacked sufficient factual support, the Court would be powerless to order the suppression of

the evidence that the government had obtained.”). Instead, Wilford must rely on the Fourth

Amendment. Although Wilford did not specifically invoke the Fourth Amendment exclusionary

rule in his written submissions, defense counsel asserted at the hearing on March 8, 2013, his

reliance on the Fourth Amendment as the basis of the suppression motion.


       25
           In a few cases, the Supreme Court has exercised its supervisory authority to suppress
evidence in response to statutory violations, but only when “the excluded evidence arose directly
out of statutory violations that implicated important Fourth and Fifth Amendment interests.”
Sanchez-Llamas v. Oregon, 548 U.S. 331, 348-49 (2006) (holding suppression not warranted for
violations of the Geneva Convention’s consular notification provision. See Mallory v. United
States, 354 U.S. 449, 453 (1957) (suppressing evidence obtained in violation of Fed. R. Crim P.
5(a) requirement that persons arrested without a warrant be promptly presented to a judicial
officer); McNabb v. United States, 318 U.S. 332, 344 (1943) (suppressing evidence obtained in
violation of a federal statute requiring the same); see also Miller v. United States, 357 U.S. 301,
309-14 (1958) (suppressing evidence obtained incident to an arrest that violated 18 U.S.C. §
3109). Wilford does not rely on such cases here, which are factually inapposite.
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         As a threshold matter, Wilford bears the burden of establishing a Fourth Amendment

violation. See Rawlings v. Kentucky, 448 U.S. 98, 104 (1980) (holding that defendant bears the

burden to establish a legitimate interest of privacy); Bullard, 645 F.3d at 242. In closing

argument, to support his claim that pinging constitutes a search, Wilford invoked the view of the

concurring Justices in Jones that “use of longer term GPS monitoring in investigations of most

offenses impinges on expectations of privacy,” and therefore the continual surveillance of an

individual, over a long period, is a “search” for Fourth Amendment purposes. Jones, 132 S. Ct.

at 964 (Alito, J. concurring in the judgment)26; see also Maynard, 615 F.3d at 558-62. Their

view has been referred to as the “mosaic theory,” because it contemplates that discrete acts of

surveillance by law enforcement may be lawful in isolation, but infringe on reasonable

expectations of privacy in the aggregate, as they “paint an ‘intimate picture’” of a defendant’s

life. United States v. Graham, 846 F. Supp. 384, 401-03 (D. Md. 2012) (quoting Maynard, 615

F.3d at 562); see generally Orin S. Kerr, The Mosaic Theory of the Fourth Amendment, 111

MICH. L. REV. 311 (2012) (examining the mosaic theory). As the concurring Justices reasoned

in Jones with respect to long-term GPS tracking, Wilford asserts that long-term tracking by way

of pinging also invades reasonable expectations of privacy, and is therefore a search.

         But, the mosaic theory was not adopted as a holding by the Supreme Court, nor has it

been endorsed by the Fourth Circuit. And, it appears somewhat unworkable in practice. See

Graham, 846 F. Supp. at 401-03 (discussing “problematic consequences” of the mosaic theory,

in the context of GPS and pinging data). Moreover, the Sixth Circuit has held that pinging does

not qualify as a search under the Fourth Amendment, because cell phone users lack a reasonable

         26
              Cell phone pinging does not involve a physical trespass, which is what occurred in
Jones.
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expectation of privacy in location data transmitted by the phone. See United States v. Skinner,

690 F.3d 772, 777-78 (6th Cir. 2012) (holding that defendant did not have a reasonable

expectation of privacy in location data transmitted from cell phone, even though he was unaware

that it was equipped with location technology).

       Nevertheless, I will assume, arguendo, that the repeated pinging of Wilford’s cellular

phone constituted a “search” under the Fourth Amendment.              I do so to avoid ruling,

unnecessarily, on this unsettled area of Fourth Amendment jurisprudence. The Supreme Court

has cautioned: “The judiciary risks error by elaborating too fully on the Fourth Amendment

implications of emerging technology before its role in society has become clear.” City of

Ontario, California v. Quon, ___ U.S. ___, 130 S. Ct. 2619, 2629 (2010).

       Even if the pinging constituted a search, I am persuaded that the orders authorizing the

pinging satisfied the Fourth Amendment’s warrant requirement.27            As noted, the Fourth

Amendment states that “no Warrants shall issue, but upon probable cause, supported by Oath or

affirmation, and particularly describing the place to be searched, and the persons or things to be

seized.” U.S. CONST. amend. IV. The Supreme Court

       has interpreted [these words] to require only three things. First, warrants must be
       issued by neutral, disinterested magistrates. Second, those seeking the warrant
       must demonstrate to the magistrate their probable cause to believe that “the
       evidence sought will aid in a particular apprehension or conviction” for a criminal
       offense. Finally, “warrants must particularly describe the things to be seized as
       well as the place to be searched.”

Dalia v. United States, 441 U.S. 238, 255 (1979) (citations omitted); see, e.g., Groh v. Ramirez,

540 U.S. 551, 557-59 (2008) (discussing warrant requirement, and holding that search warrant


       27
          As indicated, the Government suggested that the use of a GPS device is exempt from
the warrant requirement. But, it did not make that contention as to cell phone pinging.
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that utterly failed to describe person or things to be seized was facially invalid); Illinois v. Gates,

462 U.S. 213, 239 (1983) (requiring that an affidavit contain sufficient information to support a

finding of probable cause by magistrate, based upon the totality of the circumstances presented);

see also United States v. Simons, 206 F.3d 392, 401-02 (4th Cir. 2000) (discussing requirements

for a valid warrant under the Fourth Amendment).

       Here, the pinging applications and pinging orders technically complied, on their face,

with each of these requirements.         The applications were signed, under oath, by a law

enforcement officer; identified the number of the target cellular phone and its user; generally

provided adequate information obtained through the investigation to establish probable cause

linking Wilford to criminal activity; and the orders were issued upon a finding of probable cause

by a detached and neutral Maryland State judge. That the pinging applications were for an

“Order,” as opposed to a “Warrant,” is not material. See, e.g., Dalia, 256-59 (holding that “court

order” authorizing Title III wiretap “was a warrant issued in full compliance” with the Fourth

Amendment warrant requirement).

       Further, there is no inherent impropriety in the Government’s reliance on a warrant issued

by a state judge, even in a criminal case eventually prosecuted in federal court. See United

States v. Claridy, 601 F.3d 276, 281-82 (4th Cir.) (holding that “[s]earch warrants obtained

during a joint federal-state investigation may be authorized by Federal Rule 41(b) or by state law

and may serve to uncover violations of federal law as well as state law”), cert. denied, ___ U.S.

___, 131 S. Ct. 259 (2010). As noted, federal and State law enforcement were working together

in a joint investigation. As the Fourth Circuit explained in Claridy, id.:

       [T]here is nothing in the Federal Rules of Criminal Procedure that suggests that in
       a joint federal-state law-enforcement investigation, all search warrants must be

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       obtained under Federal Rule of Criminal Procedure 41(b). Stated differently,
       nothing in the Federal Rules of Criminal Procedure suggests that a joint task force
       cannot use either federal or state investigatory tools governed, respectively, by
       federal or state law.

       Thus, I am satisfied that the orders for pinging facially satisfied the Fourth Amendment’s

warrant requirement. As I will discuss, however, the facts offered in the November 18 Pinging

Application contained several material inaccuracies, which Wilford challenges under Franks v.

Delaware.

       C. Franks Hearing

       It is well settled that a strong “presumption of validity” attaches to an affidavit in support

of a search warrant. Franks v. Delaware, 438 U.S. 154, 171 (1978). Ordinarily, an accused is

not entitled to challenge the veracity of a facially valid affidavit. United States v. Allen, 631 F.3d

164, 171 (4th Cir. 2011). Review of the issuing judge’s probable cause finding is generally

confined to the four corners of the application documents. Id.; United States v. Hurwitz, 459

F.3d 463, 473 (4th Cir. 2006). Relying on Franks, however, Wilford seeks to look beyond the

facial validity of the November 18, 2010 Pinging Application, the Warrant Application, and a

wiretap application. See Motion to Suppress at 26-27.

       In Franks, the Supreme Court held that, under limited circumstances, an accused may

obtain an evidentiary hearing concerning the veracity of the statements in an affidavit in support

of a search warrant. To warrant a Franks hearing, the defendant must “make[] a substantial

preliminary showing that a false statement knowingly and intentionally, or with reckless

disregard for the truth, was included by the affiant in the warrant affidavit, and . . . the allegedly

false statement is necessary to the finding of probable cause . . . .” 438 U.S. at 155-56; see

Clenney, 631 F.3d at 633; United States v. Colkley, 899 F.2d 297, 300 (4th Cir. 1990). It is not

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enough merely to identify false statements: “[I]f, when material that is the subject of the alleged

falsity or reckless disregard is set to one side, there remains sufficient content in the warrant

affidavit to support a finding of probable cause, no hearing is required.” Franks, 438 U.S. at

171-72. Moreover, a Franks hearing is not appropriate when a motion to suppress offers only

“bare allegations,” and fails to make the required “substantial preliminary showing” by

presenting an “offer of proof” through “affidavits or sworn or otherwise reliable statements by

witnesses.” United States v. Chandia, 514 F.3d 365, 373 (4th Cir. 2008).

       In Colkley, for example, the defendant, a bank robbery suspect, complained that the

affidavit in support of the warrant for his arrest did not state that an eyewitness failed to identify

the defendant in a photo array. 899 F.2d at 299. He also complained that the affiant had based

the affidavit’s description of the suspect’s height on only one eyewitness’s testimony,

disregarding other witnesses who had described the suspect as shorter. Id. The District Court

granted the defendant a Franks hearing. See id.

       The Fourth Circuit held that a Franks hearing was not warranted, because the agent’s

“acts fell far short of the level of flagrant police action Franks is designed to prevent, and a

hearing under that decision was not required.” Id. at 301. Mindful of “the realities of the

warrant application process,” the Court explained: “An affiant cannot be expected to include in

an affidavit every piece of information gathered in the course of an investigation. Id. at 300. As

the Fourth Circuit observed, every decision to include or not include information in an affidavit

can, at some level, be described as intentional. See id. But, to fall within the scope of Franks, a

misrepresentation or omission must be made with the intent to mislead, i.e., it must be “the

product of a ‘deliberate falsehood or reckless disregard for the truth.’” Id. at 301 (quoting


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Franks, 438 U.S. at 171). And, the Fourth Circuit declined to infer intent or recklessness from

the fact of omission alone. See Colkley, 899 F.3d at 301.

       By comparison, in United States v. Tate, 524 F.3d 449 (4th Cir. 2008), the Fourth Circuit

held that the requirements for a Franks hearing had been met. In that case, the affiant, a police

officer, submitted an application for a search warrant for the defendant’s residence based on the

officer’s investigation of the defendant’s trash. Id. at 450-51. In the warrant application, the

officer represented that the trash had been “easily accessible from the rear yard” of the

defendant’s home. Id. at 451. According to the defendant, the officer deliberately crafted the

affidavit to mislead the judge into assuming that the investigation and examination of the trash

had been conducted legally. Id. at 452. The defendant claimed, however, that in order to

examine his trash, the officer would have had to jump the fence that enclosed the defendant’s

backyard, trespass on the defendant’s property, and search the trash in a container that had not

been abandoned for collection. Id. Of import here, the defendant submitted several affidavits

supporting his claims. Id. at 452-53.

       The trial judge denied a Franks hearing, and the Fourth Circuit reversed. It stated: “The

proffered facts tend to show that [the police officer] may have violated [the defendant’s]

reasonable expectation of privacy because the trash was not out at the curb for collection on the

date of . . . [the] search but rather in a container near the steps of the home.” Id. at 456. The

Court continued: “If [the defendant’s] facts are correct, the affidavit omitted the important details

. . . that the trash had not been abandoned, and that the trash bags were seized in violation of [the

defendant’s] reasonable expectation of privacy.” Id. Further, “inclusion of the allegedly omitted

information . . . would have defeated probable cause,” because “[i]f the trash investigation was


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conducted illegally, the facts derived from it would have to be stricken from the affidavit.” Id.

And, “[w]ithout the facts drawn from the trash investigation, the remaining contents of the

affidavit would not have supported a finding of probable cause.” Id. at 457. Accordingly, the

Fourth Circuit determined that the defendant had met his burden for a Franks hearing.

       Here, Wilford posits four reasons to support his request for a Franks hearing: (1) the

extensive use of GPS devices was not made known to the State judges who signed numerous

warrants; (2) the extent of the use of those GPS devices and underlying data has not yet been

fully disclosed to the defendant; (3) pinging was not authorized under the Maryland statute; and

(4) the affidavits supporting the warrants and pinging authorizations obtained in the case are

“riddled with misleading and false representations with a reckless disregard for truth and

accuracy.” Motion to Suppress at 26-27.

       Defendant’s first three arguments are plainly meritless.       First, defendant has not

explained how a more fulsome explanation in the affidavits as to the use of GPS devices would

have been relevant to the probable cause determination. The search warrants were signed by

Maryland State court judges, who were obligated to follow the Stone decision, discussed supra,

which authorized the warrantless use of GPS devices.         Thus, omission of that particular

investigative technique could not have affected the probable cause determination.        Second,

defense counsel has since obtained the relevant GPS data, so that contention is now moot. Third,

as discussed, the scope of the Maryland pen register statute with respect to pinging has no

bearing on whether suppression is appropriate. In any event, the Maryland State court judges

were aware of the statutory language, so the alleged “omission” was not relevant to the probable

cause determination.


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       Defendant’s fourth argument—as to misleading statements in the November 18, 2010,

application for a pinging order—merits further attention. Wilford specifically identifies several

factual inaccuracies in that Application.

       In the first paragraph, the Application incorrectly stated that in August 2010 CS1

identified Wilford as “a cocaine source of supply operating in Baltimore.” See Nov. 18 Pinging

App. at 2. Yet, as the Government concedes, CS1 named Hayes, not Wilford, as the source of

cocaine supply in August 2010. In the third paragraph, the application incorrectly stated that

CS2 “provided Wilford’s telephone number as 410-984-4229.” Id. at 2-3. Defendant claims,

however, that his phone number during the period of the investigation was 443-927-4365. And,

in the fourth paragraph, the Application incorrectly stated that Wilford used this phone number

to contact Hayes, when, in fact, that number was registered to Michael Smooth. Id. at 3. It also

stated that CS2 “advised agents that WILFORD owned a dump truck business” operating as

B’MORES DUMPING, when, in fact, he owned a different dump truck business, R.A.W.

ENTERPRISES, at the same location. Id.

       Excising the allegedly false statements from the Application appears to leave little in the

way of facts to support probable cause. Out of an abundance of caution, I held a Franks hearing

on January 25, 2013, as to the November 18 Pinging Application. See Clenney, 631 F.3d at 661.

Testimony was presented by Agent Mara Hewitt, the affiant on the November 18 Pinging

Application, and Agent Lester, her former supervisor.28

       Agents Lester and Hewitt conceded that the information in the first paragraph of the

November 18 Pinging Application was incorrect. They explained that the information had been

       28
          Agent Hewitt formerly worked at the DEA’s Baltimore office, but transferred to the
Atlanta office in 2011, where she is now located.
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erroneously obtained from a prior application used to authorize the pinging of Hayes’s cell

phone. Hewitt stated that she had only begun working at the DEA in 2009, and nobody assisted

her with drafting the application. Although Hewitt did not recall clearly the circumstances

surrounding the writing of the Application, she maintained that she did not intend to mislead.

Agent Lester testified that he should have reviewed the Application for accuracy before it was

submitted, but he did not. He authored the subsequent applications for pinging orders, however.

       The agents also conceded that certain information in paragraphs three and four of the

Application was incorrect.    Although the Application indicated that CS2 had advised law

enforcement as to Wilford’s phone number, the number had been identified using toll analysis,

which showed that it was in constant contact with Hayes’s cell phone. The agents testified that

they inferred that Wilford was using that phone number. The phone number was associated with

Wilford because the number was registered to a dump truck company operating as B’MORES

DUMPING. The confusion was understandable, however, as both companies are in the same

line of work and listed the same business address; Wilford’s company, R.A.W. ENTERPRISES,

also a dump truck company, was located at the same place as B’MORES DUMPING.

       I find that the agents’ testimony was credible. I also conclude that the inaccuracies were

the result of negligence, and not a deliberate intent to mislead or a reckless disregard for the

truth. Indeed, there was no need to mislead in order to obtain the order. By the time the

November 18, 2010 Pinging Application was submitted, the agents had adequate evidence to

support a finding of probable cause as to Wilford’s involvement with the Hayes DTO, which

they inexplicably omitted from the Application. Cf. United States v. McKenzie-Gude, 671 F.3d

452, 458-61 (4th Cir. 2011) (holding that suppression of evidence recovered pursuant to a


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facially inadequate search warrant was not appropriate, under Leon good faith exception, in view

of facts inadvertently omitted from warrant application that, if included, would have supported

probable cause).

       In particular, law enforcement agents had information indicating that Hayes was a major

source of cocaine supply in Baltimore, and saw him meet with Wilford on October 8, 2010, and

October 22, 2010, at 30th and St. Paul streets in Baltimore City. During each of those meetings,

Wilford gave Hayes a large cardboard box, which Hayes subsequently took to the Belvedere, a

suspected stash location for the Hayes DTO. On October 18, 2010, CS2, a credible informant

who had previously reported Hayes’s involvement with drug trafficking, informed law

enforcement that Wilford was dealing narcotics with Hayes. Law enforcement agents had also

learned that Wilford’s reported income in 2006 was only about $21,855. Yet, Wilford purchased

a home in April 2007 for $540,000, refinanced the home in March 2007 for $637,000, and

reportedly drove a Mercedes valued at $150,000. Finally, Wilford operated a dump truck

business, R.A.W. ENTERPRISES, out of the same address as another dump truck business with

which Hayes had regular phone calls.

       At most, the DEA agents are culpable for failing to recognize their own mistakes. But,

errors can occur during the unavoidable haste that often attends the warrant application process.

Accordingly, suppression is not appropriate.

       As to the Warrant Application (which was provided to the Court) and the application for

the April 1, 2011 wiretap order (which was not provided to the Court), Wilford’s argument is

largely redundant. He asserts that a Franks hearing is appropriate because these applications

“include all of the previously mentioned information gained through improper 911 pinging and


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misleading misrepresentations.” Motion to Suppress at 30-31. He did not press this argument

during the hearing. And, for the reasons discussed, supra, I see no basis to look beyond the

facial validity of either the Warrant Application or the wiretap order. Further, Wilford offers

only the bare assertion that “the affiants had to have or should have had some inclination that the

information in the affidavits was misleading.” Id. at 31. This assertion, bereft of any offer of

proof, is plainly insufficient under Franks. See Chandia, 514 F.3d at 373.

       II.     Conclusion

       For the foregoing reasons, defendant’s Disclosure Motion will be granted, in part, and

denied, in part. Defendant’s Motion to Suppress will be denied, without prejudice. A separate

Order, consistent with this Opinion, follows.



Date: June 7, 2013                                     /s/
                                                Ellen Lipton Hollander
                                                United States District Judge




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